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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

ST. MICHAEL’S MEDIA, INC.,
     Plaintiff

            v.                                           Civil Action No. ELH-21-2337

THE MAYOR AND CITY COUNCIL OF
BALTIMORE, et al.
    Defendants.


                                 MEMORANDUM OPINION

       The right to speak freely and to promote diversity of ideas . . . is . . . one of the
       chief distinctions that sets us apart from totalitarian regimes . . . [A] function of
       free speech under our system of government is to invite dispute. . . . Speech is
       often provocative and challenging. . . [F]reedom of speech, though not absolute, is
       nevertheless protected against censorship . . . .

Terminiello v. City of Chicago, 337 U.S. 1, 4 (1949) (citations omitted).

                                            *   *    *

       In this First Amendment case, the Court must determine whether to enjoin the Mayor and

City Council of Baltimore (the “City”) 1 from banning a prayer rally and conference at a City-

owned concert venue, based on alleged public safety concerns arising from the provocative and

controversial nature of some of the speakers.

       On September 13, 2021, plaintiff St. Michael’s Media, Inc. (“St. Michael’s) filed suit

against the City; Baltimore Mayor Brandon M. Scott; and Baltimore City Solicitor James L.

Shea, Esquire (collectively, the “City Defendants”). ECF 1. Soon after, St. Michael’s filed a

“First Amended Verified Complaint” (“Amended Complaint”). ECF 14. Plaintiff claims that

       1
         Plaintiff sued “The City of Baltimore” but, the City’s proper name is “Mayor and City
Council of Baltimore.” See Balt. City Charter, Art. I, § 1; ECF 25-1 at 1 n.1. Accordingly, I
have used the correct name in the caption of the Memorandum Opinion. And, I shall direct the
Clerk to correct the docket to reflect the proper name.
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the City Defendants have violated its rights under the First Amendment to the Constitution by

denying plaintiff the right to hold a prayer rally and conference on November 16, 2021, at the

MECU Pavilion (the “Pavilion”), situated in downtown Baltimore on Pier VI, in an area known

as the “Inner Harbor.” ECF 14, ¶ 7. The City owns the Pavilion, but it is managed by SMG, a

private company that operates under the name “Royal Farms Arena.” Id.

       St. Michael’s, a non-profit organization, “is a vocal critic of the mainstream Catholic

Church,” including the United States Conference of Catholic Bishops (“USCCB”). ECF 1, ¶ 66;

see ECF 14, ¶ 75; ECF 1, ¶ 3. Plaintiff seeks to hold the prayer rally and conference to criticize

the Church, particularly with respect to child sexual abuse committed by members of the clergy,

and it wants to do so on a date that coincides with the USCCB’s Fall General Assembly. ECF 1,

¶¶ 8-10, 42. The USCCB plans to meet from November 15 – 18, 2021 at the Waterfront Marriott

Hotel (“Hotel”), a private facility located near Pier VI. Id. ¶¶ 8, 9.

       On or about August 5, 2021, weeks after plaintiff had paid a $3,000 deposit to SMG for

use of the Pavilion, SMG, on instruction of the City, notified St. Michael’s that plaintiff could

not rent the Pavilion. Id. ¶¶ 13, 14. The City cited safety concerns linked to some of the people

who were identified as speakers at the event. Id. ¶¶ 15-19.

       St. Michael’s sent a demand letter to defendants on August 27, 2021, giving defendants

until September 3, 2021, to permit the rally to proceed. ECF 1, ¶ 23. Defendants did not

respond. Id. ¶ 34. This suit followed.

       Along with the suit, St. Michael’s moved for a temporary restraining order (“TRO”) and

a preliminary injunction. ECF 2 at 13. St. Michael’s asked the Court to compel SMG to “fulfill

its contractual obligations with St. Michael’s” and to enjoin the defendants from “interfering

with St. Michael’s preparing for and conducting” its rally on November 16, 2021. Id. at 13-14.



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St. Michael’s also submitted a declaration from its founder and CEO, Michael Voris, describing

a telephone conversation with Shea on August 6, 2021 (ECF 8-1), and a declaration from

Christine Niles, a senior producer and investigative reporter at St. Michael’s, describing emails

she obtained from the City pursuant to a request under the Maryland Public Information Act.

ECF 8-2. 2

       St. Michael’s subsequently filed its Amended Complaint (ECF 14), adding SMG as a

defendant, and adding a new claim, directed only at SMG. Plaintiff also appended several

exhibits. See ECF 14-1, ECF 14-2, ECF 14-3. The Amended Complaint contains five “Claim[s]

for Relief,” the first four of which are lodged against the City Defendants, pursuant to 42 U.S.C.

§ 1983. I shall refer to each claim as a count.

       Count I alleges that the City Defendants violated plaintiff’s First Amendment right to free

speech. ECF 14, ¶¶ 48-61. Count II alleges that the City Defendants violated plaintiff’s “Right

of Free Exercise of Religion,” as guaranteed by the First Amendment. Id. ¶¶ 62-72. In Count

III, plaintiff claims that the City Defendants violated the Establishment Clause of the First

Amendment. Id. ¶¶ 73-83. And, Count IV asserts that the City Defendants violated plaintiff’s

right of assembly, as protected by the First Amendment. Id. ¶¶ 84-98. Count V is lodged against

SMG, and seeks specific performance of the alleged contract between plaintiff and SMG. Id. ¶¶

99-113.

       St. Michael’s also filed an amended preliminary injunction motion.           ECF 15 (the

“Motion”). The Motion is supported by three exhibits (ECF 16), which are identical to the


       2
         I granted the TRO, in part. ECF 9. In particular, I ordered the City Defendants not to
prevent St. Michael’s from making arrangements for the rally. Id. But, I did not order SMG, a
non-party at the time, to execute a contract with plaintiff. And, during a conference call with
counsel on September 14, 2021, I established a briefing schedule and set a motion hearing for
September 30, 2021. ECF 10.

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exhibits submitted with the Amended Complaint (ECF 14-1; ECF 14-2; ECF 14-3). And, the

Motion seeks the same relief that was set forth previously in regard to the original motion.

       Defendants oppose the Motion (ECF 25), supported by a memorandum (ECF 25-1)

(collectively, the “Opposition”) and five exhibits. ECF 25-2 to ECF 25-6. SMG joined the

Opposition. ECF 26. 3

       St. Michael’s replied. ECF 31 (the “Reply”). With the Reply, plaintiff submitted nine

exhibits. ECF 31-1 to ECF 31-9. Thereafter, the Court requested additional briefing from

defendants with respect to particular issues presented in the Reply. ECF 34. In response,

defendants filed a surreply. ECF 37.

       On September 29, 2021, one day before the scheduled Motion hearing (ECF 10), St.

Michael’s filed 17 witness declaration, as well as the curriculum vitae of a proffered expert

witness, James P. Derrane, Ph.D. See ECF 41; ECF 41-1 to ECF 41-18. That night, shortly

before 9:00 p.m., plaintiff filed Dr. Derrane’s expert report, providing his safety risk assessment

with regard to the proposed rally. ECF 42. 4

       The Court held an evidentiary Motion hearing on September 30, 2021, and October 1,

2021, at which six witnesses testified for plaintiff: James Grein; Father Paul John Kalchik; Milo

Yiannopoulos; Christine Niles; Michael Voris; and Dr. Derrane. ECF 43; ECF 44. 5 The parties

also agreed to admit into evidence all exhibits previously submitted with their filings.




       3
           Counsel for the City Defendants also represents SMG in this action.
       4
         Also on September 29, 2021, defendants gave notice of an expert witness. ECF 40.
But, the City never called that witness.
       5
           Dr. Derrane testified via Zoom. The other witnesses appeared in person.

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       For the reasons that follow, I shall grant the Motion in part and deny it in part. 6

                                        II. Factual Background 7

                                  A. The Parties and the Pavilion

       St. Michael’s is a Michigan-based nonprofit organization that “publishes news stories

about societal issues” and “current events of interest to Catholics,” with “a particular focus on

the Catholic Church.” ECF 14, ¶¶ 3, 8. It has a subsidiary organization, “Church Militant,”

which is a 501(c)(4) organization. ECF 3 (Disclosure Statement). Defendants sometimes refer

to the plaintiff by the name “Church Militant.” See, e.g., ECF 25-1 at 1; ECF 25-3 (Decl. of

Michael G. Huber, Scott’s Chief of Staff), ¶ 3 n.2.

       Plaintiff notes that it “sometimes dissents from Catholic Church hierarchy, and is vocal

about this dissent.” ECF 14, ¶ 3. Moreover, it “often criticizes the current leadership” of the

Catholic Church for what it perceives as “corruption in the Church,” including the Church’s

protection of priests and others implicated in the sexual abuse of minors. Id. ¶ 8. In addition, St.

Michael’s “is a vocal critic of what it perceives as politicization of the Catholic Church by the

USCCB.” Id. ¶ 75. In particular, it “disagrees with, and criticizes, a number of the USCCB’s

positions on religious doctrine and morality, as well as the Catholic Church’s covering up of the


       6
          The Court has endeavored to issue this opinion as expeditiously as possible, mindful of
the time-sensitive nature of the case. Nevertheless, as the opinion hopefully reflects, the Court
was required to undertake a great deal of research on legal questions not fully developed in the
parties’ briefing.
       7
          The facts are derived from the evidence presented at the Motion hearing, the exhibits,
and, where appropriate for background, from the Amended Complaint. I do not have a transcript
of the testimony presented at the hearing. Therefore, in recounting any testimony, I have relied
on my notes. I do not represent that any quotes correspond verbatim to the testimony.

       Moreover, some of the witnesses who testified also provided declarations. To the extent
that the testimony corresponds to an averment in a declaration, I sometimes cite to the
declaration.

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sexual abuse committed by priests.” Id. The testimony of several witnesses for plaintiff,

including Voris, Niles, and Grein, a victim of sexual child abuse committed by a high-ranking

member of the clergy, made clear the passionate beliefs held by many of those affiliated with St.

Michael’s. See, also, e.g., ECF 41-6 (Decl. of Niles), ¶¶ 3-9 (describing herself as a devout

Catholic, but disdainful of the Church’s treatment of sex abuse victims and “whistleblowers”).

           The Mayor and City Council of Baltimore is a municipal corporation. ECF 14, ¶ 4; see

Balt. City Charter, Art. I, § 1. Scott is the Mayor of Baltimore. ECF 14, ¶ 6. Shea is the City

Solicitor for Baltimore. Id. ¶ 5. As City Solicitor, Shea is the City’s chief legal advisor and the

head of its Department of Law. ECF 25-4 (Decl. of Shea), ¶ 4; Balt. City Charter, Art. VII, §§

22-26. 8 Both Shea and Scott have been sued in their official and individual capacities. ECF 14,

¶¶ 5, 6.

           The Pavilion, owned by the City, opened in 1981 as the Pier Six Pavilion. ECF 25-2, ¶ 2

(Decl. of Frank Remesch, Royal Farms Arena General Manager); ECF 31-4 (Ticketmaster

MECU Pavilion Venue Guide) at 2-3. 9 It is a tent-like structure that functions primarily as a

summer concert and entertainment venue. ECF 25-2, ¶ 3; ECF 31-1, Royal Farms Arena

website; ECF 31-4. Located at 731 Eastern Avenue, the Pavilion is situated “in the heart of

downtown Baltimore.” ECF 25-3 (Huber Decl.), ¶ 3; see also ECF 14, ¶ 7, ECF 25-2, ¶ 3; ECF

25-6; ECF 37-1 (Remesch Supplemental Decl.), ¶ 3. As mentioned, the area where it is located

is sometimes referred to as the Inner Harbor. ECF 25-3, ¶ 4; ECF 14, ¶ 7.


           8
         The Mayor, as the chief executive officer of the City, appoints the City Solicitor, subject
to confirmation by the City Council. Balt. City Charter, Art. IV, §§ 4, 6.
           9
          The venue “acquired the MECU name in 2018, when the Municipal Employees Credit
Union of Baltimore purchased the naming rights.” ECF 21-4 at 2. According to the City’s
attorneys, “Pier VI” is the correct terminology, although “Pier Six” is sometimes used in the
parties’ submissions. And, I also saw a reference to “Pier 6.”

                                                  6
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        Promotional literature describes the Pavilion as a Baltimore “landmark,” ECF 21-4 at 2,

and a facility that is “instantly identifiable” given its “white big-top tent.” ECF 31-4 at 2. The

Pavilion has a total capacity for 4,600 persons, “split between covered seating and an open-air

lawn.” Id. at 2-3. 10

        Although the City owns the Pavilion, the venue is operated and managed by defendant

SMG, pursuant to a contractual relationship with the City. ECF 25-2, ¶¶ 2, 4. 11 SMG is a

Pennsylvania general partnership that operates under the name “Royal Farms Arena,” a reference

to another Baltimore venue that it manages. ECF 14, ¶ 7; ECF 16-1 at 3; ECF 25-2, ¶ 2. 12

        The Pavilion and the surrounding geographic area are depicted in various exhibits

introduced by defendants. I have included three of them. See ECF 25-6 at 4, 5, 6. The

depictions show the proximity of the Pavilion to the Hotel where the USCCB is scheduled to

meet in November 2021. ECF 14, ¶ 9. They also show that the Pavilion is located on a pier

surrounded by water on three sides, with direct access to two busy streets, Pratt Street and

Eastern Avenue. And, there is a footbridge connecting Pier VI to the area where the Hotel is

located. In addition, one of the depictions is a photograph that illustrates the downtown setting

and the tent-like structure used for covered seating.




        10
         The parties seem to agree that there is covered seating for about 3,000 people. See
ECF 8-1, ¶ 2.
        11
         Only an excerpt of the contract between the City and SMG has been provided to the
Court. See 16-3 at 2.
        12
         SMG is a subsidiary of ASM Global, a venue management conglomerate formed in
2019 by the merger of SMG with another company. See ECF 16-1 at 3; ASM Global, ROYAL
FARMS ARENA, http://www.royalfarmsarena.com/arena-info/asmglobal (last visited Sept. 23,
2021).

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                              8
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       According to defendants, the Pavilion “is a commercial venture that is reserved to

selected speakers and performers based on the subjective criteria of the operator,” i.e., SMG,

with the ultimate purpose of making money “as an entertainment venue.” ECF 37 at 2. Per the

contractual relationship between the City and SMG, the City receives rent payments for use of

the Pavilion as well as “a percentage of proceeds from ticketed event sales” at the Pavilion. ECF

25-2, ¶ 5; see ECF 37-1, ¶¶ 4-6. The “leftover proceeds” are “utilized to pay facilities expenses,”

and remaining funds “are profit to Live Nation and SMG.” Id. ¶¶ 4-7. 13

       Ticket sales for events at the Pavilion are handled by Ticketmaster. See ECF 16-2 at 24.

The Ticketmaster Venue Guide for the Pavilion describes the facility as “Baltimore’s premiere

venue for outdoor summer concerts.” ECF 31-4 at 3. And, the Royal Farms Arena describes the

Pavilion as “the perfect space to enjoy entertainment along Baltimore’s famed Inner Harbor.”




       13
            The role played by Live Nation, another company, has not been clarified by the parties.

                                                  9
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ECF 31-1. 14 It appears undisputed that many musical and comedy events have been held over

the years at the Pavilion. ECF 31 at 7 n.9; ECF 31-4 at 3; ECF 31-5; ECF 31-6; ECF 31-7. 15

There is no indication that any of the concerts or performances took place during business hours

on a work day.

        According to Frank Remesch, General Manager of the Royal Farms Arena, SMG

“contracts with outside parties for use of the venue,” i.e. the Pavilion. ECF 25-2, ¶ 4. To that

end, St. Michael’s interacted exclusively with a representative of SMG to make arrangements to

use the Pavilion for its rally. ECF 14, ¶¶ 14-19. But, according to the City, it has the authority

to reject a request for use of Pier VI.

        The contract between the City and SMG provides, in part, ECF 16-3 at 2:

        11.      Schedule of Events, Objections. During the Term, Operator shall use
        good faith efforts to advise City each month during the event season as to the
        dates of events and the artists or users for scheduled events. Operator agrees that
        it will not allow any public event to be held at the Facilities which utilizes artists
        that have not performed at a similarly situated venue owned or operated by Live
        Nation. The City shall provide Operator with notice of any objections or
        complaints that result from a public event held at the Facilities. Prior to booking
        any such objectionable performer at the Facilities in future years, the Operator
        will provide the City with notice, at which time the City shall have 48 hours to
        object to such performer, and the Operator will not book such objectionable
        performer unless the Operator has provided assurances to the City that the issues
        giving rise to the objections and complaints will be addressed in a manner
        satisfactory to the City.

        It is not clear whether the portion of the contract cited above provides the only basis on

which the City may intervene with regard to the use of the Pavilion. In an email of August 5,

        14
          At ECF 31 at 6, plaintiff points to the following passage from the same web page:
“Royal Farms Arena is Baltimore’s premier multi-use sports and entertainment facility and is a
great place to host a wide variety of events. Our flexible and dynamic space has the ability to
accommodate major concerts, family shows, sporting events, college commencements,
conferences, corporate events and political functions.” See ECF 31-1. However, this text refers
to the Royal Farms Arena, an entirely distinct venue located near the federal courthouse in
Baltimore.
        15
             Concerts were not held during the peak of the COVID-19 pandemic.
                                                 10
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2021, sent from Shea to Teresa Waters, an SMG representative, Shea referred to the above clause

and said: “The City’s basis for the decision to decline to provide a forum for the event

encompasses more than the provision you cite.” ECF 16-3 at 2. 16 However, the City did not

furnish the Court with a contractual provision on which it relies for its decision. Moreover, no

standards, policies, or procedures were submitted to the Court that pertain to the City’s exercise

of its discretion as to use of the Pavilion.

                         B. Plaintiff’s Event and Efforts to Secure the Pavilion

                                                    1.

        The United States Conference of Catholic Bishops will hold its Fall General Assembly in

Baltimore from November 15 to November 18, 2021. See ECF 14, ¶ 9. In particular, the

USCCB will meet at the Hotel, located directly across from the Pavilion, and separated by a

narrow waterway and a footbridge. Id. ¶¶ 9, 10; ECF 19-3 at 2. “Numerous bishops and other

high-ranking members of the Catholic Church will be in attendance at this event.” ECF 14, ¶ 9.

        In order to “criticiz[e] elements of the power structure of the Catholic Church,” St.

Michael’s seeks to hold a “Prayer Rally & Conference” at the Pavilion on November 16, 2021.

ECF 14, ¶¶ 10-11; ECF 25-3, ¶ 5. The event will also include “praying the Rosary.” ECF 14, ¶

12; see ECF 8-1, ¶ 11. In November 2018, during a USCCB conference at the Hotel, plaintiff

held the “same kind of rally” at Pier VI. ECF 14, ¶¶ 13, 25. According to plaintiff, a central

topic of the 2021 rally, like the one in 2018, is the issue of sexual abuse of minors by clergy.

        As in 2018, St. Michael’s purposely chose the Pavilion for its 2021 event because it is

“immediately adjacent” to the Hotel, where the USCCB Fall Assembly is held. ECF 14, ¶ 11;

see also ECF 8-1, ¶ 5. Plaintiff asserts that proximity to the Hotel is critical, because “[t]he


        16
             The email is a bit garbled in the exhibit but the quote appears to be accurate.

                                                   11
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entire purpose” of the “rally is to communicate the ideas of [its] members and attending speakers

to the USCCB in a format and in a venue that they cannot ignore.” ECF 14, ¶ 42. In plaintiff’s

view, holding the rally at a different location or at a different time would “neuter” both the

rally’s “expressive elements” and its “religious significance.” Id. ¶¶ 42, 43. According to St.

Michael’s, word of the 2021 event spread quickly.         Over 2,000 reservations were secured

following just two weeks of public promotion. ECF 8-1, ¶ 10.

       At the Motion hearing, rally organizers and attendees confirmed the importance of the

Pier VI location. See also ECF 41-1, ¶ 14. For example, Niles testified that the Pavilion is

important because the bishops would be in the direct view of the rally by means of a large

window at the Hotel that overlooks the Pavilion.

       Evidence was also presented as to the subject matter of the 2021 event. Father Paul John

Kalchik, a Roman Catholic priest in Chicago, testified that he was abused by a priest when he

was a child. See also ECF 41-1 (Decl. of Father Kalchik), ¶¶ 5, 6. Now 60 years old, id. ¶ 4,

Father Kalchik plans to speak at the rally “about the evils of sexual predation,” a topic for which

he claims he was “silenced for 39 years.” Id. ¶ 10. He also complains that “Church officials

have been stone deaf” in “ridding the Church of these predators.” Id. As he explained in his

Declaration, the rally will also provide “comfort” to victims of sexual child abuse and

demonstrate that they are “not invisible anymore.” Id. ¶ 13.

       In his testimony, Father Kalchik characterized the City’s concerns about violence as

“ludicrous.” In his view, the City’s conduct would once again “silence” the victims.

       Grein, a resident of Virginia, describes himself as “a devout” Catholic who is opposed to

violence. ECF 41-2 (Grein Decl.), ¶¶ 2, 6, 14-20. He testified that he, too, was the victim of

child sexual abuse, committed by a high-ranking member of the clergy. He plans to attend the



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event “to speak and pray with faithful Catholics in such a way that communicates to the USCCB

that they can no longer make [him] and other victims of their abuse hide in secret.” ECF 41-2, ¶

11. Moreover, he maintains that those who have “covered up the sexual abuse committed by

Catholic priests need to see the victims they have tried . . . to ignore.” Id. ¶ 12.

       At the hearing, Grein poignantly explained the significance of his experience in speaking

publicly for the first time about his abuse at plaintiff’s 2018 rally in Baltimore. He offered that

he is looking forward to attending the 2021 rally to “heal by speaking.”

       Other individuals who plan to attend the 2021 event submitted declarations expressing

similar sentiments. The declarations reflect the declarants’ interest in the issue of child sexual

abuse by Catholic clergy, as well as their opposition to violence. See, e.g., ECF 41-4 (Decl. of

Maris Bentley, a resident of Nebraska); ECF 41-5 (Decl. of Maria Barrientos, a resident of

California), ¶¶ 8-12; ECF 41-8 (Decl. of Violet Burgard, a resident of Louisiana), ¶¶ 8-12.

       St. Michael’s has arranged for 16 speakers at the event. ECF 8-1, ¶ 11. According to a

social media advertisement (ECF 25-3, ¶ 5), the “confirmed speakers” include Voris; media

personalities Milo Yiannopoulos and Michelle Malkin; political strategist Stephen (“Steve”)

Bannon; as well as Archbishop Carlo Viganò. Id. Voris testified that two of the high-profile

speakers, Bannon and Yiannopoulos, will help bring “notoriety” to the event, thereby increasing

attendance and attention. However, based on emails between St. Michael’s and SMG, it is not

clear that all the speakers will attend in person. See ECF 16-2 at 6 (“We may also want to Skype

in a speaker or two.”).

       Bannon did not testify or submit a declaration. Voris testified that, for the most part, he

has not had detailed discussions with any of the speakers as to the content of their remarks. But,




                                                  13
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when asked, Voris testified that Bannon would most likely speak about efforts of various

Catholic dioceses to shelter money so as to avoid payments to victims.

       Yiannopoulos states in his Declaration (ECF 41-3), and in his testimony, that his role is

primarily that of host or “emcee.” Id. ¶ 5. He recounted that he was “raped” by a priest, and he

wants to speak about his experience to help others confront their abusers and the enablers. He

stated that the Catholic bishops are not his “enemy,” but he views some of them as “very lost”

and “failing in their pastoral duties,” and he believes they deserve to be held “to account.” As

Yiannopoulos put it, confronting those who cover up the abuse is the “crux” of the prayer rally.

And, given the proximity of the location to the Hotel, the bishops will not be able to overlook the

3,000 attendees.

                                                    2.

       As noted, St. Michael’s previously held the “same kind of rally” at the Pavilion in

November 2018. ECF 14, ¶¶ 13, 25. Like the 2021 rally, the 2018 rally was timed to coincide

with the USCCB Fall General Assembly. Id. ¶ 13. According to St. Michael’s, the 2018 rally

“was entirely peaceful, lawful, and uneventful,” without any harm to people or property. Id. No

evidence was introduced to contradict that claim. 17

       In anticipation of the 2021 event, St. Michael’s reached out to SMG on or about June 16,

2021, in an effort to secure the Pavilion for its rally on November 16, 2021. ECF 14, ¶ 10.

Thereafter, St. Michael’s “spent several weeks” communicating with SMG employees as to

arrangements and logistics. Id. ¶ 14. Voris describes these communications as “[c]ordial and

friendly.”     ECF 8-1, ¶ 8.       However, the parties disagree as to the legal effect of these

communications.


       17
             As discussed, infra, the City argues that the two events differ significantly in size.

                                                    14
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        Carmen Allard, an employee of St. Michael’s who is responsible for “Development,

Special events, Media relations[, and] Travel,” placed a call on June 16, 2021, to Teresa Waters,

the “Human Resources Manager/Executive Assistant to General Manager” at Royal Farms

Arena, inquiring as to the availability of the Pavilion on November 16, 2021. ECF 16-2 at 38.

Waters responded via email the same day, stating, in part (id.):

        We have the date you inquired about available. We do require a $3000 non-
        refundable deposit to hold the date. I have attached the prior contract [for the
        2018 event] for your review…the rental rate is still the same, however production
        costs will have changed over the years.

        Please advise if you would like to proceed with a deposit and contract confirming
        the event.

        Allard responded, in relevant part: “Yes, we would like to proceed. Kindly provide

directions for payment of the deposit and a new contract.” Id. at 37. On June 21, 2021, plaintiff

wired the $3,000 deposit to SMG, which was received on June 22. Id. at 32; ECF 41-7 (Allard

Decl.), ¶ 8.

        At Waters’s request, on June 18, 2021, Allard provided details to Waters for the drafting

of a new contract, such as event name and times. ECF 16-2 at 36. On July 14, 2021, Waters sent

an email to Allard with “the contract for the 11.16.2021 Baltimore Conference and Prayer

event.” Id. at 30. She continued: “Please sign and return to me for execution. If you have any

requested edits please do so in a redline format.” Id.

        The proposed contract is titled “Pier Six Pavilion” and “Use License Agreement.” The

parties were identified as SMG and “St. Michael [sic] Media.” ECF 16-1 at 1.          It outlines

various terms, procedures, and fees relating to St. Michael’s use of the Pavilion. Paragraph 2(a)

provided that the Pavilion “is to be used solely for the purpose of holding a conference,

Baltimore Conference & Prayer Meeting 2021. Licensee shall not use the Facility or permit the



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Facility to be used by any of its officers, directors, agents, employees, licensees, or invitees, for

any unlawful or immoral purpose or in any manner so as to injure persons or property in, on, or

near the Facility.” Id. at 4. The document was not signed by SMG. Id. at 14.

       Allard sent back several corrections and changes on July 15, 2021. ECF 16-2 at 28-29.

Waters responded the same day that she would make the requested changes and “get this [the

contract] back to you.” Id. at 27. Then, between July 16, 2021 and August 2, 2021, Allard and

Waters exchanged a series of emails concerning aspects of the event and the Pavilion. Id. at 10-

12, 17-18, 24-27. These included, inter alia, extending the length of the event on November 16

and associated costs; the technology available at the Pavilion; and whether the event would be

classified as “private” or “ticketed.” Id. at 10-12, 17-18, 24-27. Text in the Use Agreement

might have been subject to change, depending on the outcome of the discussions. See ECF 16-1,

§ 8(a) (event not “ticketed”), Ex. A (hours).

       On July 20, 2021, Allard emailed Waters, stating that St. Michael’s had “sold tickets to

800 persons.” ECF 16-2 at 24. Waters sent an email to Allard on July 20, 2021, stating, in part:

“[B]efore we quote any additional costs we have an issue to discuss. When the Pier is rented as a

private event that means guests do not purchase tickets to the event . . . It was recently brought to

our attention you are charging a $25 ticket fee for attendees . . . if that is the case we have to

change your event to a ticketed event . . . tickets will need to be sold through Ticketmaster and

you [sic] event will be subject to TM fees and amusement tax.” Id.

       As a result, plaintiff decided not to hold a ticketed event. Instead, plaintiff planned either

to refund money to those who had purchased tickets or to retain the payments as donations. Id.

at 17-18.




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       Between June 21, 2021 and July 20, 2021, Allard also exchanged emails with Jason

Smith, the Royal Farms Arena “Director of Event Services.” ECF 16-2 at 2-10. The exchanges

concerned technology matters and other logistical issues, as well as a possible visit by St.

Michael’s staff to the Pavilion to plan the event. Id.

       On August 2, 2021, Waters emailed Allard, providing “answers to the remaining

questions to try and finish the contract,” and discussing certain issues mentioned above. Id. at

17-18. Allard responded the same day regarding each of the issues. Id. at 17. However, it does

not appear that an updated contract was sent to St. Michael’s prior to August 5, 2021.

       Plaintiff’s preparation for the rally was not limited to its interactions with SMG. As

mentioned, St. Michael’s selected the speakers for the rally. ECF 14, ¶ 14; ECF 8-1, ¶ 11. And,

on June 23, 2021, St. Michael’s began publicly promoting the rally, resulting in “over 2,000

reservations.” ECF 14, ¶ 14; ECF 8-1, ¶ 10.              Further emails from Allard referenced the

expectation of 3,000 attendees. ECF 16-2 at 5, 12, 26.

                           C. The City’s Rejection of Plaintiff’s Request

                                                 1.

       Michael Huber, Mayor Scott’s Chief of Staff, avers that the discussions between SMG

and St. Michael’s “came to the attention” of the City in July 2021. ECF 25-3 (Huber Decl.), ¶ 3.

In particular, the City learned that St. Michael’s planned a rally featuring speakers “known for

encouraging violent actions that have resulted in injuries, death, and property damage.” ECF 25-

1 at 10. In the City’s view, some of the speakers would “provoke a strong reaction and raise the

potential for clashes and disturbances,” given the “very real potential [that the speakers] would

use [the rally] to incite violence and public disruption.” Id. at 11; see ECF 25-3, ¶ 4. Because

the prospect of property damage and violence “is a real and valid concern . . . .,” ECF 25-1 at



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22, the City decided to reject plaintiff’s request to use the Pavilion for the rally. Id. at 10-11;

ECF 25-3, ¶ 6.

       In his Declaration, Huber avers, ECF 25-3, ¶ 4:

               According to the Church Militant’s website and other social media
       sources, Church Militant is attempting to hold an event on November 16, 2021
       with confirmed speakers including Steve Bannon and others whose speaking
       engagements and statements have a track record of inviting protestors and counter
       protestors and supporting the January 6 attack on the Capitol in Washington, D.C.
       According to available media reports, their events and statements have a
       demonstrated history of inciting property destruction, physical assaults, and other
       violence, i.e., secondary effects. The City believes that the event proposed by
       Church Militant will bring those secondary effects to the City of Baltimore
       generally, and the downtown area around the Inner Harbor and Pier IV [sic],
       specifically.

       “For the reasons stated above,” Huber contacted SMG during the week of July 19, 2021,

and “instructed them to cease discussions” with St. Michael’s. ECF 25-3, ¶ 6; see ECF 25-1 at 6.

It appears that the City’s concerns about the speakers and the potential “secondary effects” were

based primarily if not entirely on “available media reports.” ECF 25-3, ¶ 4. 18

       Notably, there is no indication in the record that any other concerns or justifications were

considered by the City at the time it decided to cancel the rally. Rather, the City focused on its

view of St. Michael’s as an organization, and it also expressed concern about certain speakers,

claiming they are individuals who have a history of promoting violence. The Opposition cites

several news reports to support its concerns. 19


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          Specific information as to how the City learned of plaintiff’s plans has not been
provided to the Court.
       19
           St. Michael’s argued in its Reply that the news reports cited in the Opposition are
“inadmissible hearsay.” ECF 31 at 13 n.12. But, I may rely on hearsay in the context of a
preliminary injunction proceeding. G.G. ex rel. Grimm v. Gloucester Cty. Sch. Bd., 822 F.3d
709, 725–26 (4th Cir. 2016), vacated on other grounds, __ U.S. __, 137 S. Ct. 1239 (2017)
(Mem.). In any event, the parties subsequently agreed to the admission of the exhibits. Of
course, this does not mean that the content of a particular exhibit is necessarily accurate.

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        For example, in the Opposition defendants cite “incendiary and hateful rhetoric” from

certain confirmed speakers, particularly Voris, Bannon, and Yiannopoulos. ECF 25-1 at 11.

And, according to defendants, St. Michael’s “was an active propagandist for the claim that the

November 2020 Presidential Election was stolen from Donald Trump.” Id. at 7. Further,

defendants assert that plaintiff continued “expressing and disseminating this sentiment” until the

January 6 “insurrection” at the Capitol. Id. According to the defendants, in a broadcast on

January 6, 2021, Voris allegedly “glorified the Capitol insurrectionists” while showing video

footage of the day’s events and remarking: “‘Once on Capitol grounds, [Trump supporters]

showed the media exactly what they think of them.’” Id. at 7-8 (quoting Post-Election Special:

Storming       the       Capitol,       CHURCH         MILITANT        (Jan.           6,        2021),

https://www.churchmilitant.com/news/article/post-election-special-storming-the-capitol).

        As for Bannon, a “former Trump Official” regarded by some as a political gadfly, the

Opposition asserts that he “regularly calls for violence against government officials and also

played a key role” in the lawless conduct at the Capitol on January 6, 2021. ECF 25-1 at 8; see

id. at 9. Moreover, defendants point out that Bannon, who has been banned from Twitter, made

a reprehensible statement in a podcast about Dr. Anthony Fauci and FBI Director Christopher

Wray: “‘I’d put the heads on pikes.’” Id. at 8 (citing Jaclyn Diaz, Twitter Permanently Suspends

Steve    Bannon      Account   After   Beheading      Comments,     NPR        (Nov.        6,   2020),

https://www.npr.org/2020/11/06/932052602/twitter-permanently-suspends-steve-bannon-

account-after-beheading-comments).     And, defendants contend that “speaking engagements

involving Steve Bannon have also devolved into violence and disruption.” ECF 25-1 at 9. The

City cites a November 2018 debate involving Bannon, held in Toronto, which led to a clash




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between police and protestors, as well as an event in September 2017 at the University of

California, Berkeley. Id. at 9 n.14.

       With respect to Yiannopoulos, the Opposition characterizes him as a “far-right pundit”

who has “incit[ed] racist and misogynistic abuse of an African American celebrity,” with “a

history of making comments advocating for pedophilia.” Id. at 9-10. His comments are so

outrageous, according to the City, that he was banned from Twitter and even barred from “the

conservative CPAC Conference in 2017.” Id. Further, the City argues that Yiannopoulos’s

“language has also shown enthusiasm for violence,” including a call in June 2018 for “‘gunning

journalists down . . . .’” Id. at 10. 20 And, the City claims that “[v]iolence and public disruption

frequently follow [his] engagements.” Id.

       To illustrate, defendants point to Yiannopoulous’s speaking engagement at the University

of Washington in Seattle in January 2017, where one man was shot, and which required a

substantial investment from area police. Id. Defendants also cite a separate engagement at the

University of California, Berkeley in early 2017, which resulted in riots and significant property

damage. ECF 25-1 at 10.

       The City explains that, “[w]ith such a ‘star studded’ group on the plaintiff’s program,”

known for inciting violence, id., it “instructed SMG not to move forward with the event out of a

legitimate fear that it would incite violence in the heart of downtown Baltimore.” Id. at 11

(citing Huber Decl., ECF 25-3, ¶¶ 3-6). But, the City notes that it “has not stopped Plaintiff from

planning and holding its event in another space . . . .” ECF 25-1 at 11.


       20
          Such invective might be deemed offensive to many Marylanders, given the tragic and
senseless murders of five employees of the Capital Gazette, a newspaper in Annapolis. Those
murders occurred in June 2018, just two days after Yiannopoulos’s comments. However, it does
not appear that the gunman, Jarrod Ramos, was motivated by political considerations. Nor is
there any ground to believe that Ramos was aware of Yiannopoulos’s comment.

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       In the Opposition, defendants also argue that the City’s concerns are particularly valid

given that the Pavilion “sits on the end of Pier VI in the Inner Harbor,” accessible from Pratt

Street, the Pier V Hotel, the bridge connecting Pier VI to the Marriott, and because there is water

on three sides. Id. at 20-21. To be sure, in July 2021, Huber noted that the Pavilion is located

“in the heart of downtown Baltimore.” ECF 25-3, ¶ 3. But, Huber did not otherwise cite the

particulars of the location of Pier VI as a justification for the City’s actions. Nor did he mention

the time of the event or the number of attendees as a particular concern.

       Additional evidence as to the basis for the City’s decision at the time is provided in an

email from Waters, “sent on behalf of Frank Remesch” to Shea on August 4, 2021. ECF 16-3 at

2. Waters confirmed that the City “wishes to exercise its right to deny an event at the MECU

Pavilion.” Id. She also referenced a clause in the City’s contract with SMG, authorizing the City

to object to bookings of performers, quoted supra.         As mentioned earlier, however, Shea

responded to Waters by email on August 5, 2021, and said: “The City’s basis for the decision to

decline to provide a forum for the event encompasses more than the [contract] provision you

cite.” ECF 16-3 at 2. But, Shea did not elaborate.

       Moreover, in its Opposition, the City articulates several other justifications for its

decision to block the event at the Pavilion.         However, there is no evidence that these

justifications were part of the calculus for the City’s decision at the relevant time. For example,

the City Defendants contend that permitting the rally will require a significant response from the

Baltimore Police Department, which is already severely understaffed. ECF 25-1 at 24, 33; ECF

25-5 (Decl. of Sheree Briscoe, Deputy Comm’r of Operations, Balt. Police Dep’t). The City also

points to the litigation in which it is now embroiled in federal court as a result of the riots that

followed the death of Freddie Gray in 2015, while he was in police custody. ECF 25-1 at 22; see



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Chae Brothers, LLC d/b/a Fireside North Liquors, et al. v. Mayor and City Council of Baltimore,

SAG-17-01657.

       Defendants do not dispute the characterization of plaintiff’s 2018 rally as peaceful. See

ECF 25-1 at 5. However, in their Opposition and in argument, they highlighted what they

consider critical differences between the 2018 rally and the proposed 2021 rally: the 2021 rally is

projected to be substantially larger in size, and several of the individuals slated to speak at the

2021 event are regarded as inflammatory. Id. at 5, 11, 24; ECF 25-5, ¶ 3.

       There is no disagreement that as many as 3,000 attendees are expected at the 2021 rally.

That number far exceeds the number of people who attended in 2018. See ECF 16-2 at 5, 12, 26.

But, there is conflicting evidence concerning the size of the 2018 crowd. In their submissions,

the defendants assert that in 2018 there was a crowd size of only 300-400 people. See, e.g., ECF

25-1 at 5. But, Niles and Voris testified that, in actuality, about 900 to 1,000 people attended in

2018, without incident. Even assuming the accuracy of plaintiff’s account, the 2021 event would

be three times larger than the 2018 event.

       In any event, although the Opposition discusses the “size of the program” (id. at 19), this

was not a factor cited by Huber or Shea in their declarations as a basis for the City’s decision to

cancel the event at the Pavilion. Indeed, it is unclear if the City was even aware of the rally’s

projected size at the time it made its decision.      Nor did Huber or Shea mention in their

declarations the burden on the police or the concern about a potential lawsuit should violence

erupt that results in property damage.

       Notably, no cases have been cited to the Court to suggest that the City had an obligation

to inform plaintiff of the reason(s) for its decision to cancel the rally. But, Shea did provide an

explanation to Voris. See, e.g., ECF 25-4, ¶ 4. The explanation concerned “disruptions based on



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publicly available media reports and other public information about the Church Militant and the

confirmed speakers for the event.” Id. Additional new grounds were presented during the

litigation. Significantly, the City offered no evidence to demonstrate that the additional grounds

were also considerations at the time the City made the decision to cancel the event.

       Therefore, the only information available to the Court with respect to the City’s basis for

its decision is that which is contained in the declarations from Huber and Shea recounting the

City’s actions. See ECF 25-3; ECF 25-4. Given the addition of new grounds, this raises the

question of whether these added concerns were actually factors in the decision at the time or,

instead, developed after the fact to justify what took place. In the absence of any contrary

evidence, reference to these reasons creates a strong suggestion of post hoc rationalization.

       For its part, plaintiff vigorously disputes any suggestion that it intends to promote

violence. See ECF 31 at 13 n.13, 16. In particular, the declarations and testimony of its

witnesses support the claim of purely peaceful intentions. See, e.g., ECF 41-1, ¶¶ 19-24; ECF

41-2, ¶¶ 14-20; ECF 41-4 (Decl. of Maris Bentley), ¶¶ 13-25; ECF 41-5, ¶¶ 14-19; ECF 41-11

(Decl. of Marianne Thomas Sibal), ¶¶ 11-16. Voris, for example, testified that St. Michael’s has

a history of hospitality towards counter protestors, such as by providing them with water.

       In his testimony, Yiannopoulos called the City’s accusation of pedophilia “revolting” and

“grotesque.” Although he acknowledged his history of “biting commentary,” ECF 41-3, ¶ 12,

which is sometimes quite “caustic,” id. ¶ 13, he maintains that he is not the provocateur that he

once was. Although in the past he participated in some “purposefully” provocative events,

Yiannopoulos stated that he has since become a more “prayerful” person. And, he claims that he

has “fallen off the radar of all but the most determined violent agitators.” Id. ¶ 13. Moreover, he

expressly condemned the use of violence. See id. ¶¶ 6, 20, 24.



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       According to Yiannopoulos, his “voice” is the most effective means for political change.

And, he testified that at other events he was “wrongly accused” of inciting violence or looking

the other way, noting that he has, in fact, always reported serious safety risks to law enforcement.

He also anticipates that those attending the prayer rally would be more peaceful, well-behaved

individuals than those who have appeared at his past events. 21

                                                 2.

       As mentioned, the City’s decision to bar St. Michael’s from booking the Pavilion was

communicated to St. Michael’s on August 5, 2021. ECF 14, ¶ 19. That afternoon, Waters

emailed Allard: “Per our contract with the City, we are no longer able to host your event.” ECF

16-2 at 22. Allard immediately wrote back, requesting the relevant contractual text, and asked

Waters to call her back “as soon as possible.”        Id. at 21.   Waters responded: “As stated

previously due to our contract with the City we are no longer able to host your event.” Id. at 20.

She provided no additional information, beyond informing Allard that SMG had initiated a return

of St. Michael’s’ $3,000 deposit. 22 In reply, Allard asked for a “proper and honest explanation”

as to “what suddenly transpired” between August 2, 2021, when they last emailed, and August 5.

Id. at 19-20. Waters responded that she had been “told to direct [Allard] to the Baltimore City

Solicitor James Shea for additional information on this matter,” and she provided Shea’s contact

information. Id. at 19.

       Thereafter, Voris spoke with Shea by telephone on August 6, 2021. ECF 14, ¶¶ 21-38;

ECF 8-1, ¶¶ 15-47; ECF 25-4, ¶ 4. Shea avers in his Declaration (ECF 25-4) that during the call,


       21
          Yiannopoulos also stated (albeit curiously) that political conditions have calmed in the
years since his prior engagements. He claims that what has occurred since the 2020 election,
including the events of January 6, 2021, is not comparable to the “rage” that followed the 2016
election.
       22
            St. Michael’s has not cashed the returned $3,000 check. ECF 8-1, ¶ 25.
                                                 24
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he informed Voris that “the City was concerned that the proposed event would cause disruptions

based on publicly available media reports and other public information about the Church Militant

and the confirmed speakers for the event.” Id. ¶ 4.

        Voris provided his version of events in two declarations and through testimony.

According to Voris, Shea told him that his office had received reports of ties between St.

Michael’s and the events of January 6, 2021. ECF 8-1, ¶ 18. Voris recounted that Shea cited the

existence of “reports widely available on the internet . . . .” Id. ¶ 19. Voris responded that the

allegation was “completely untrue” and that St. Michael’s had no involvement in the events of

January 6, 2021.       Id. ¶¶ 20-22.    Nonetheless, Shea maintained that “in his office’s risk

assessment, Church Militant posed a ‘risk of violence’ and a threat to safety,” and the risk was

too great for “him” to allow the event. Id. ¶¶ 23, 24. But, Shea was unwilling to provide a more

specific explanation or the criteria he used in reaching the decision, other than references to

“reports” concerning January 6. Id. ¶¶ 29, 30, 41, 44; ECF 14, ¶¶ 24, 33.

        According to Voris, he informed Shea that St. Michael’s held a similar rally at the

Pavilion in 2018. Shea replied that “‘a lot has changed in three years.’” ECF 8-1, ¶ 28. 23

However, Shea indicated that he “was not necessarily restricting [plaintiff’s] ability to hold [the]

rally” elsewhere. Id. ¶ 36. Voris asserts that Shea did not explain why the risk of violence would

be less elsewhere. Id. ¶¶ 36-39. When Voris asked Shea why the City had not reached out to St.

Michael’s to discuss its concerns, Shea responded, “‘We don’t work like that. When we receive

what we consider credible threats, we act.’” Id. ¶ 45.

        Voris commented to Shea: “‘No one would want our event cancelled except the U.S.

bishops.’” Id. ¶ 31. Thereafter, he claims to have asked Shea if the USCCB asked the City to

        23
             Scott was not the Mayor at the time of plaintiff’s rally in 2018, nor was Shea the City
Solicitor.

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cancel the St. Michael’s event. Shea supposedly replied that he could “‘neither confirm nor deny

that.’” Id. ¶ 32.

        St. Michael’s alleges that “Shea has ties to the USCCB” (ECF 14, ¶ 26), and that the

USCCB asked the City to block plaintiff’s rally. Id. ¶¶ 36, 37. Voris testified that he recently

learned that Shea has engaged in fundraising for Baltimore’s Catholic Charities, and he believes

that the USCCB is a client of Shea’s former law firm. 24 In his Declaration, Shea avers that he

has “not had any contact or discussions with representatives of the Catholic Church or the

[USCCB] related to the November 16 event and those groups have played no role whatsoever in

the decision not to move forward with the Church Militant event.” ECF 25-4, ¶ 5. No evidence

was presented to contradict that assertion. And, as plaintiff’s counsel acknowledged in argument

at the Motion hearing, plaintiff has no evidence to support the allegation of Shea’s ties to

USCCB or communications between USCCB and Shea.

        After the Court issued the TRO described earlier, St. Michael’s reached out to SMG. See

ECF 19-1 (Decl. of plaintiff’s counsel, Mark Randazza, Esquire), ¶ 9. Waters sent Allard a

revised contract reflecting certain changes to which the parties had agreed prior to August 5,

2021, as discussed above, and asked St. Michael’s to “review, sign and return . . . the contract for

final signature.” ECF 19-2 at 5. Allard returned a signed contract, indicating that she looked

forward to “receiving the countersigned copy at your earliest convenience.” Id. at 3-4; ECF 31-

2. However, Waters replied the next day that she had been “advised that we cannot fully execute

your contract until the lawsuit is officially settled later this month.” ECF 19-2 at 2. Plaintiff’s

counsel avers that he then spoke with Bruce Hanson, an attorney for SMG, who told him that

SMG did not “‘want to get sideways with the City.’” ECF 19-1, ¶ 15.

        24
         The Court takes judicial notice of the fact that Shea previously served as Chair of
Venable LLP, a large and distinguished law firm headquartered in Baltimore.

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        Voris testified that St. Michael’s has not looked for alternatives to the Pavilion since

learning of the City’s decision. He explained that, from plaintiff’s experience with Pier VI for

the 2018 rally, there are no other locations that are suitable for plaintiff’s purpose.           As

mentioned, plaintiff seeks proximity to the Hotel at which the USCCB Fall Assembly will be

held.    Moreover, St. Michaels avers that it “operated and incurred expenses on the

understanding” that it had a contractual relationship with SMG. ECF 14, ¶ 16. Further, it asserts

that if the rally does not go forward, “[i]t will not be possible for St. Michael’s to recoup all” of

the “significant sums of money” it has expended. Id. ¶ 44.

        Plaintiff represents in its Reply that, “in the interest of compromise, St. Michael’s . . .

offered to remove whichever speakers the [City] wanted from the rally,” and “also offered to let

the [City] pre-approve any speeches,” but the City refused. ECF 31 at 2 n.2. At argument,

defense counsel claimed that this was not an “accurate representation” of what occurred, and

objected to any reference to settlement discussions. 25 In any event, Voris made clear that he is

unwilling to withdraw any speakers to allay the City’s safety concerns. And, Yiannopoulos

testified that he would agree to withdraw “under the most extreme protest,” in order to allow the

rally to proceed. But, he also stated that he would then sue the City. ECF 41-3, ¶ 15.

        Additional facts are included, infra.

                            III.       Standard of Review

        Plaintiffs seek a preliminary injunction pursuant to Rule 65 of the Federal Rules of Civil

Procedure.

        “A preliminary injunction is an extraordinary remedy never awarded as of right.” Winter

v. Natural Res. Def. Council, Inc., 555 U.S. 7, 24 (2008); see Benisek v. Lamone, ____ U.S.

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          It goes without saying that the Court will not consider the content of settlement
discussions. The fact that the parties had such discussions, however, is of no consequence.

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____, 138 S. Ct. 1942, 1944 (2018); Leaders of a Beautiful Struggle v. Baltimore Police Dep’t, 2

F.4th 300, 339 (4th Cir. 2021) (en banc); Roe v. Dep’t of Defense, 947 F.3d 207, 219 (4th Cir.

2020); In re Search Warrant Issued June 13, 2019, 942 F.3d 159, 170-71 (4th Cir. 2019); Centro

Tepeyac v. Montgomery Cty., 722 F.3d 184, 188 (4th Cir. 2013) (en banc).                   Rather, a

preliminary injunction is “‘granted only sparingly and in limited circumstances.’” Micro

Strategy, Inc. v. Motorola, Inc., 245 F.3d 335, 339 (4th Cir. 2001) (quoting Direx Israel, Ltd. v.

Breakthrough Med. Corp., 952 F.2d 802, 816 (4th Cir. 1991)). “This principle reflects the reality

that courts are more likely to make accurate decisions after the development of a complete

factual record during the litigation.” Leaders of a Beautiful Struggle v. Baltimore Police Dep’t,

979 F.3d 219, 225 (4th Cir. 2020), rev’d on other grounds, 2 F.4th 330 (4th Cir. 2021).

       To qualify for a preliminary injunction under Rule 65, a plaintiff bears the burden to

satisfy four requirements. First, a plaintiff “must establish that he is likely to succeed on the

merits[.]” Winter, 555 U.S. at 20. Although that standard does not require “a ‘certainty of

success,’” the plaintiff “must make a clear showing that he is likely to succeed at trial.’” Di Biase

v. SPX Corp., 872 F.3d 224, 230 (4th Cir. 2017) (citation omitted). However, “a preliminary

injunction does not follow as a matter of course from a plaintiff’s showing of a likelihood of

success on the merits.” Benisek, 138 S. Ct. at 1943-44 (citing Winter, 555 U.S. at 32). “Rather,

a court must also consider whether the movant has shown ‘that he is likely to suffer irreparable

harm in the absence of preliminary relief, that the balance of equities tips in his favor, and that an

injunction is in the public interest.’” Benisek, 138 S. Ct. at 1943-44 (quoting Winter, 555 U.S. at

20, 129 S. Ct. 365); see Leaders of a Beautiful Struggle, 2 F.4th at 339; Centro Tepeyac, 722

F.3d at 188.




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       A preliminary injunction cannot issue absent a “clear showing” that all four requirements

are satisfied. Leaders, 979 F.3d at 226; Pashby v. Delia, 709 F.3d 307, 320 (4th Cir. 2013).

And, the “‘[p]laintiff bears the burden of establishing that each of these factors supports granting

the injunction.’” Direx Israel, 952 F.2d at 812 (quoting Tech. Publ’g Co. v. Lebhar-Friedman,

Inc., 729 F.2d 1136, 1139 (7th Cir. 1984); Shaffer v. Globe Prod, Inc., 721 F.2d 1121, 1123 (7th

Cir. 1983)); see Winter, 555 U.S. at 22 (recognizing that because a preliminary injunction is “an

extraordinary remedy,” it “may only be awarded upon a clear showing that plaintiff is entitled to

such relief”). Accordingly, a court need not address all four Winter factors if one or more factors

is not satisfied. Henderson ex rel. NLRB v. Bluefield Hosp. Co., LLC, 902 F.3d 432, 439 (4th

Cir. 2018).

       The irreparable harm factor is satisfied if there is a likely constitutional violation.

Leaders of a Beautiful Struggle, 2 F.4th at 346. In particular, “in the context of an alleged

violation of First Amendment rights, a plaintiff’s claimed irreparable harm is ‘inseparably

linked’ to the likelihood of success on the merits of plaintiff's First Amendment claim.” W.V.

Ass’n of Club Owners and Fraternal Services, Inc. v. Musgrave, 553 F.3d 292, 298 (4th Cir.

2009) (citation omitted). As the Fourth Circuit said in Legend Night Club v. Miller, 637 F.3d

291, 301 (4th Cir. 2011), in the context of permanent injunctive relief, “‘[t]he loss of First

Amendment freedoms, for even minimal periods of time, unquestionably constitutes irreparable

injury.’” Id. at 302 (quoting Elrod v. Burns, 427 U.S. 347, 373 (1976)).

       Ordinarily, such a threatened injury to a plaintiff will “easily outweigh[ ] whatever

burden the injunction may impose,” because the government “is in no way harmed by issuance

of an injunction that prevents the state from enforcing unconstitutional restrictions.” Legend

Night Club, 637 F.3d at 302-03. When a state is precluded from enforcing restrictions that are



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likely to be deemed unconstitutional, then “the balance of the equities favors preliminary relief . .

. .” Leaders of a Beautiful Struggle, 2 F.4th at 346 (citing Centro Tepeyac, 722 F.3d at 191;

Giovani Carandola, Ltd. v. Bason, 303 F.3d 507, 521 (4th Cir. 2002)). Furthermore, “it is well-

established that the public interest favors protecting constitutional rights.” Leaders of a Beautiful

Struggle, 2 F.4th at 346 (citing Centro Tepeyac, 722 F.3d at 191).

       “Because preliminary injunction proceedings are informal ones designed to prevent

irreparable harm before a later trial governed by the full rigor of usual evidentiary standards,

district courts may look to, and indeed in appropriate circumstances rely on, hearsay or other

inadmissible evidence when deciding whether a preliminary injunction is warranted.” G.G. ex

rel. Grimm v. Gloucester Cty. Sch. Bd., 822 F.3d 709, 725–26 (4th Cir. 2016), vacated on other

grounds, __ U.S. __, 137 S. Ct. 1239 (2017) (Mem.); see Profiles, Inc. v. Bank of Am. Corp., 453

F. Supp. 3d 742, 753 (D. Md. 2020).

                                      IV. Challenge to Dr. Derrane

                                                 A.

       I first resolve defendants’ challenge to the testimony of plaintiff’s proposed expert, James

P. Derrane, Ph.D. On the eve of the hearing, plaintiff offered Derrane as an expert in “special

event security planning, among other security-related fields.” ECF 42 at 1; see ECF 41-18

(Curriculum Vitae). At the Motion hearing, plaintiff’s counsel proffered Dr. Derrane as an

expert in “crowd control” and law enforcement planning and risk assessment for large events. 26

       The City objected to the testimony based on the late disclosure of the witness. But, this

case had only been pending for about two weeks when the disclosure was made. And, plaintiff

circulated the report as soon as it became available. In the posture of the case, it is difficult to

       26
            Given the posture of the case, neither side provided any briefing on the issue of
experts.

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conceive of how plaintiff could have acted more quickly. Certainly, there is no indication of

purposeful delay.    However, I need not resolve the objection based on the timing of the

disclosure, because I decline to receive Dr. Derrane as an expert.

       Dr. Derrane graduated from the Naval Academy and earned a doctorate in 2013 from an

online institution, Capella University, in the field of “Public Safety Leadership/Emergency

Management.” ECF 41-18 at 1, 8. He has an impressive and extensive background in law

enforcement. For almost 20 years, Derrane worked as a Special Agent with the Federal Bureau

of Investigation, where he “specialized in white-collar crime,” and had a host of other significant

assignments, including electronic surveillance, and held supervisory positions. Id. at 2. As an

FBI agent he was involved in the agency’s response to several high-profile incidents, including

the 2013 Boston Marathon bombing and the 2014 riot in Ferguson, Missouri. Id. at 6. He was

also involved in crisis management and readiness as well as coordinating for major events, such

as Pope Francis’s visit to the United States in 2015 and the Republican National Convention in

2016. Id.

       Dr. Derrane left the FBI in 2017. Id. at 3. Upon leaving government service, Dr.

Derrane has worked in the private sector, and now supervises security at a manufacturing plant

for Merck Pharmaceuticals in Virginia. Id. at 2.

       Of course, while Dr. Derrane served as an FBI Special Agent, he testified several times in

court and before grand juries. ECF 41-18 at 5-6. But, there is no indication that he ever testified

as an expert, or that he testifed about the topics for which he has been proposed as an expert in

this case. Id. And, since leaving the FBI, Derrane has never qualified as an expert in court. Nor

is he particularly familiar with Baltimore or its geography. He is also unfamiliar with the

Consent Decree under which the Baltimore Police Department now operates. And, he did not



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testify about any training or experience with actual “crowd control.” Moreover, the Court does

not have a clear understanding of any special skills in the matter of risk assessment with regard

to security issues and public safety at large events. As an FBI agent, Dr. Derrane would have

had access to sources of intelligence as well as information from local law enforcement partners.

But, it does not appear that he had such access with respect to the evaluation of the safety risks

presented by the 2021 prayer rally.

       In his report, Derrane opines that the “threat of violence stemming from, or in response

to, St. Michael’s Media’s planned November 16th protest” is “very unlikely.” ECF 42-1 at 3.

Derrane’s conclusion was largely based on his review of “open source” information, i.e., Internet

searches that he conducted for proposed speakers, and searches using various terms. His search

covered only the past two years, despite the fact that for about the past 18 months, most public

appearances have been curtailed due to the COVID-19 pandemic.

                                               B.

       Pursuant to Rule 104(a) of the Federal Rules of Evidence (“F.R.E.”), the court is

responsible for determining “preliminary questions concerning the qualification of a person to be

a witness” and “the admissibility of evidence.”       This includes the admissibility of expert

testimony under F.R.E. 702 and Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 597 (1993).

The party seeking to present expert testimony has the burden to establish its admissibility by a

preponderance of the evidence. See Cady v. Ride-Away Handicap Equipment Corp., 702 Fed.

App’x 120, 124 (4th Cir. 2017) (citing Cooper v. Smith & Nephew, Inc., 259 F.3d 194, 199 (4th

Cir. 2001)); Maryland Casualty Co. v. Therm-O-Disc., Inc., 137 F.3d 780, 783 (4th Cir. 1998);

Fireman’s Fund Ins. Co. v. Tecumseh Prods. Co., 767 F. Supp. 2d 549, 553 (D. Md. 2011);




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Casey v. Geek Squad ® Subsidiary Best Buy Stores, L.P., 823 F. Supp. 2d 334, 340 (D. Md.

2011).

         “[D]istrict courts may look to, and indeed in appropriate circumstances rely on, hearsay

or other inadmissible evidence when deciding whether a preliminary injunction is warranted.”

G.G. ex rel. Grimm, 822 F.3d at 725–26. The Fourth Circuit has said that “although admissible

evidence may be more persuasive than inadmissible evidence in the preliminary injunction

context, it was error for the district court to summarily reject G.G.’s proffered evidence because

it may have been inadmissible at a subsequent trial.” Id. at 725.

         Thus, Dr. Derrane’s testimony is not necessarily subject to exclusion simply because it

might be inadmissible at trial. However, the standards articulated in F.R.E. 702 and Daubert are

useful guideposts to determine whether to allow him to opine, as proffered. See, e.g., Parks v.

City of Charlotte, No. 3:17-CV-00670, at *4 (W.D.N.C. Sept. 27, 2018) (“[R]ather than making

a final determination under Rule 702 and Daubert of whether [the proposed experts] qualify as

experts for purposes of this trial, the Court will make a less formal review of the affidavits to see

if they present the indicia of reliability common to expert testimony.”).

         In Daubert, 509 U.S. at 597, the Supreme Court made clear that expert testimony is

admissible if “it rests on a reliable foundation and is relevant.” It must constitute scientific

knowledge that will assist the trier of fact to understand or determine a fact in issue. Thereafter,

in Kumho Tire Co., Ltd. v. Carmichael, 526 U.S. 137, 141 (1999), the Supreme Court extended

the principles pertaining to scientific expert testimony to all expert testimony requiring technical

or specialized knowledge.

         F.R.E. 702 governs the admission of expert testimony. It provides:

         A witness who is qualified as an expert by knowledge, skill, experience, training,
         or education may testify in the form of an opinion or otherwise if:

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               (a) the expert’s scientific, technical, or other specialized knowledge will
               help the trier of fact to understand the evidence or to determine a fact in
               issue;
               (b) the testimony is based on sufficient facts or data;
               (c) the testimony is the product of reliable principles and methods; and
               (d) the expert has reliably applied the principles and methods to the facts
               of the case.

       Thus, pursuant to Rule 702, a properly qualified expert witness may testify regarding

technical, scientific, or other specialized knowledge in a given field if the testimony would assist

the trier of fact in understanding the evidence or to determine a fact in issue, and the testimony is

both reliable and relevant. See Sardis v. Overhead Door Corp., 10 F. 4th 268, 281 (4th Cir.

2021); United States v. Smith, 919 F.3d 825, 835 (4th Cir. 2019); United States v. Young, 916

F.3d 368, 379 (4th Cir. 2019). However, to be admissible, the proffered expert opinion must not

be based on speculation. United States v. Landersman, 886 F.3d 393, 412 (4th Cir. 2018)

(citation omitted).

       Under Daubert, the “hallmarks of reliability” are “testing, peer review, literature, rate of

error or general acceptance . . . .” Sardis, 10 F. 4th at 295. To be reliable, the testimony must be

grounded “in the methods and procedures of science,” and it must be something more than

subjective belief or unsupported assumptions. Daubert, 509 U.S. at 589–90; see Sardis, 10 F.

4th at 290; Belville v. Ford Motor Co., 919 F.3d 224, 232 (4th Cir. 2019); Oglesby v. Gen.

Motors Corp., 190 F.3d 244, 250 (4th Cir. 1999).

       Daubert articulated five non-exhaustive factors that the trial court should consider in

evaluating the reliability of an expert’s reasoning or methodology: (1) whether the particular

scientific theory has been or can be tested; (2) whether the theory has been subjected to peer

review and publication; (3) the known or potential rate of error; (4) whether there are standards

controlling the method; and (5) whether the technique has gained general acceptance in the


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relevant scientific community. Daubert, 509 U.S. at 593–94; see United States ex rel. Lutz v.

Mallory, 988 F.3d 730, 741 (4th Cir. 2021); Belville, 919 F.3d at 233; United States v. Crisp, 324

F.3d 261, 265–66 (4th Cir. 2003).

       As mentioned, the factors are “‘not exhaustive.’” Belville, 919 F.3d at 233 (citation

omitted). Moreover, the evaluation “is always a flexible one . . . .” Oglesby, 190 F.3d at 250.

As a whole, the factors are meant to ensure that “an expert, whether basing his testimony upon

professional studies or personal experience, employs in the courtroom the same level of

intellectual rigor that characterizes the practice of an expert in the relevant field.” Kumho Tire

Co., 526 U.S. at 152. Thus, the factors are meant to be “helpful, not definitive,” and not all

factors necessarily apply in a given case. Id. at 151; see Nease v. Ford Motor Co., 848 F.3d 219,

229 (4th Cir. 2017). Indeed, the Supreme Court has said that the factors are not a “checklist.”

Kumho Tire Co., 526 U.S. at 150.

       As to relevancy, an expert’s testimony is relevant if it has “‘a valid scientific connection

to the pertinent inquiry.’” Belville, 919 F.3d at 232 (citation omitted). Put another way, the

evidence or testimony is relevant if it will “assist the trier of fact to understand the evidence or to

determine a fact in issue.” Daubert 509 U.S. at 591; see also In re Lipitor, 892 F.3d at 631;

United States v. Wolf, 860 F.3d 175, 194 (4th Cir. 2017); Nease, 848 F.3d at 229; United States

v. Forrest, 429 F.3d 73, 80–81 (4th Cir. 2005).

       Helpfulness to the trier of fact is “the ‘touchstone’” under Rule 702. Kopf v. Skyrm, 993

F.2d 374, 377 (4th Cir. 1993) (citation omitted). And, “‘[d]oubt regarding whether an expert’s

testimony will be useful should generally be resolved in favor of admissibility.’” Mack v.

Amerisource Bergen Drug Corp., 671 F. Supp. 2d 706, 709 (D. Md. 2009) (citation omitted). In

effect, a tie goes to the proponent of the evidence.



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       With regard to an expert’s qualifications, the Advisory Committee’s notes to Rule 702

provide that experience alone, or in conjunction with “other knowledge, skill, training or

education,” can provide sufficient foundation for expert testimony. See Kumho Tire Co., 526

U.S. at 156 (stating that “no one denies that an expert might draw a conclusion from a set of

observations based on extensive and specialized experience.”). On the other hand, an expert

witness may not offer an opinion where the subject matter goes beyond the witness’s area of

expertise. See Berry v. City of Detroit, 25 F.3d 1342, 1351 (6th Cir. 1994); see also Smith v.

Central Admixture Pharm. Servs., Inc., AW–07–3196, 2010 WL 1137507, at *3 (D. Md. Mar.

19, 2010) (“It is well established that ‘general expertise is not sufficient to qualify [an expert] to

testify on a matter that requires particularized knowledge, training, education, or experience.’”

(quoting Fitzgerald v. Smith & Nephew Richards, Inc., JFM-95-3870, 1999 WL 1489199, at *3

(D. Md. Dec. 30, 1999), aff'd sub nom. Fitzgerald v. Smith & Nephew, Inc., 11 F. App’x 335 (4th

Cir. 2001))).

       To be sure, the trial court “should meticulously focus on the expert’s principles and

methodology, and not on the conclusions that they generate.” McDowell v. Brown, 392 F.3d

1283, 1298 (11th Cir. 2004); see Bresler v. Wilmington Trust Co., 855 F.3d 178, 195 (4th Cir.

2017). And, expert testimony need not be “‘irrefutable or certainly correct’” in order to be

admissible. United States v. Moreland, 437 F. 3d 424, 431 (4th Cir. 2006) (citation omitted); see

Daubert, 509 U.S. at 596; Bresler, 855 F.3d at 195; Westberry v. Gislaved Gummi AB, 178 F. 3d

257, 261 (4th Cir. 1999). Therefore, “‘questions regarding the factual underpinnings of the

[expert witness’s] opinion affect the weight and credibility’ of the witness’ assessment, ‘not its

admissibility.” Bresler, 855 F.3d at 195 (citation omitted).




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       On the other hand, and as mentioned, a court should exclude testimony if it is based on

“belief or speculation,” Oglesby, 190 F.3d at 250, or when not supported by the record. See

Bryte ex rel. Bryte v. Am. Household, Inc., 429 F.3d 469, 477 (4th Cir. 2005); Tyger Const. Co.

v. Pensacola Const. Co., 29 F.3d 137, 142 (4th Cir. 1994); Casey, 823 F. Supp. 2d at 340.

Moreover, “nothing in either Daubert or the Federal Rules of Evidence requires a district court to

admit opinion evidence that is connected to existing data only by the ipse dixit of the expert.”

Gen. Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997). Indeed, “ipse dixit” is the “hallmark of an

unreliable opinion.” Sardis, 10 F.4th at 295, 296.

       Further, proposed testimony that concerns matters within the common knowledge and

experience of a lay person does not pass muster. United States v. Dorsey, 45 F.3d 809, 814 (4th

Cir. 1995); Kopf, 993 F.2d at 377. “While the fit between an expert’s specialized knowledge and

experience and the issues before the court need not be exact . . . an expert’s opinion is helpful to

the trier of fact, and therefore relevant under Rule 702, ‘only to the extent the expert draws on

some special skill, knowledge or experience to formulate that opinion.’” Shreve v. Sears,

Roebuck & Co., 166 F. Supp. 2d 378, 392–393 (D. Md. 2001) (quoting Ancho v. Pentek Corp.,

157 F.3d 512, 518 (7th Cir. 1998)).

       Dr. Derrane’s opinions were predicated on the same kind of online media searches

conducted by the City to formulate its opinions. Ironically, plaintiff is highly critical of that

approach, yet it is the one that was used by its own expert. Dr. Derrane did little more than turn

to the Internet to learn about the speakers. See ECF 42-1 at 11-19 (describing the Internet

searches). The undertaking does not involve a scientific methodology, nor is it clear that the

endeavor draws “‘on some special skill, knowledge or experience.’” Shreve, 166 F. Supp. 2d at




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392–393 (quoting Ancho, 157 F.3d at 518). In any event, there was no testimony pertaining to

Dr. Derrane’s special skills or training in regard to use of the Internet.

       Certainly, Dr. Derrane brings to the table his years of training and experience as a federal

law enforcement officer. But, he did not explain how that training enabled him to determine

whether any of the speakers pose public safety concerns. As noted, he did not mention that he

had access to law enforcement intelligence, nor does it appear that he sought to confer about the

matter with anyone from the Baltimore Police Department. Moreover, his online searches (such

as “protest against Steve Bannon speaking engagements,” ECF 42-1 at 16), were limited to the

past two years, even though the existence of the COVID-19 pandemic has drastically curtailed

speaking opportunities during that period. 27 Nor was Dr. Derrane particularly familiar with the

geography of downtown Baltimore and the area surrounding the Pavilion, an issue of obvious

relevance in offering his conclusions.

       In addition, Dr. Derrane sought to opine, without any foundation, that when Bannon

called for putting the heads of Dr. Fauci and Christopher Wray “on pikes,” he was merely

speaking “rhetorically.” Id. at 6. He offered no basis to support his conclusion that, in effect,

Bannon was joking, and did not mean to suggest that Fauci or Wray should suffer harm in any

way. In short, Dr. Derrane’s conclusion was little more than ipse dixit.

       I recognize that Dr. Derrane expedited the preparation of his report. Nevertheless, at this

juncture I decline to consider his risk assessment with respect to the 2021 rally.

                                                V. Discussion

       The First Amendment to the Constitution is at the heart of this case.          It provides:

“Congress shall make no law respecting an establishment of religion, or prohibiting the free


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         Plaintiff’s counsel indicated that he is the one who told Dr. Derrane to limit the search
to the most recent two-year period.
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exercise thereof; or abridging the freedom of speech, or of the press; or the right of the people

peaceably to assemble, and to petition the government for a redress of grievances.”

       Plaintiff alleges multiple violations of its rights by the City Defendants under the First

Amendment: free speech; free exercise of religion; the Establishment Clause; and the right of

assembly. 28 And, St. Michael’s alleges a specific performance claim against SMG. ECF 14, ¶¶

48-113.

                                       A. Free Speech Claim

       In Count I, St. Michael’s contends that the City Defendants violated plaintiff’s right to

free speech by directing SMG not to rent the Pavilion to plaintiff. ECF 14, ¶¶ 48-61. According

to St. Michael’s, the City Defendants plainly engaged in viewpoint-based discrimination, seeking

to suppress plaintiff’s specific viewpoint without satisfying the exacting requirements of strict

scrutiny. ECF 15 at 8-9.

       Defendants counter that the Pavilion is a nonpublic forum, and therefore it is permitted to

set reasonable, viewpoint-neutral restrictions on speech. ECF 25-1 at 14-17. Furthermore,

defendants argue that their actions were reasonable and viewpoint-neutral; the decision was

based on a sound and legitimate interest in ensuring public safety. Id. at 17-25.

       In its Reply, St. Michael’s argues that the Pavilion is a designated public forum and that,

in any case, defendants’ restrictions on plaintiff’s speech are viewpoint-based. ECF 31 at 4-8,

11-16. In addition to the City’s failure to satisfy strict scrutiny, St. Michael’s contends that the

City Defendants’ “unfettered discretion” in blocking use of the Pavilion violated plaintiff’s


       28
           “The First Amendment is applicable to the States through the Due Process Clause of
the Fourteenth Amendment.” Va. State Bd. of Pharmacy v. Va. Citizens Consumer Council Inc.,
425 U.S. 748, 749 n.1 (1976); see Lovell v. Griffin, 303 U.S. 444, 450 (1983). Plaintiff fails to
mention the Fourteenth Amendment in the Amended Complaint. However, St. Michael’s
references the Fourteenth Amendment in the Motion, ECF 15 at 9-10, 12, albeit not in the
context of its Free Speech claim.
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constitutional right to free speech. Id. at 8-11. In the surreply, defendants dispute plaintiff’s

arguments as to the status of the Pavilion as a designated public forum. And, they also disagree

that the City’s exercise of discretion was proper. ECF 37.

                                       1.   General Principles

        “The First Amendment ‘was fashioned to assure unfettered interchange of ideas for the

bringing about of political and social changes desired by the people.’” Connick v. Myers, 461

U.S. 138, 145 (1983) (citations omitted). “‘Premised on mistrust of governmental power” the

First Amendment “stands against attempts to disfavor certain subjects or viewpoints.’” Am. Civil

Liberties Union of N. Carolina v. Tata, 742 F.3d 563, 565-66 (4th Cir. 2014) (quoting Citizens

United v. Fed. Election Comm’n, 558 U.S. 310 (2010)). Pursuant to the First Amendment,

“government generally has no power to restrict expression because of its message, its ideas, its

subject matter, or its content.” Barr v. Am. Assoc. of Political Consultants, Inc., ––– U.S. ––––,

140 S. Ct. 2335, 2346 (2020) (quotation marks and citation omitted).

       The Supreme Court has said: “The hallmark of the protection of free speech is to allow

‘free trade in ideas’—even ideas that the overwhelming majority of people might find distasteful

or discomforting.” Virginia v. Black, 538 U.S. 343, 365 (2003) (quoting Abrams v. United States,

250 U.S. 616, 630 (1919) (Holmes, J., dissenting)). A “core postulate of free speech law” is that

the “government may not discriminate against speech based on the ideas or opinions it conveys.”

Iancu v. Brunetti, ––– U.S. ––––, 139 S. Ct. 2294, 2299 (2019). Put another way, the government

“‘ordinarily’” may not “‘prohibit dissemination of social, economic and political doctrine which

a vast majority of its citizens believes to be false and fraught with evil consequence.’” Black, 538

U.S. at 365; see Turner Broad. Sys., Inc. v. F.C.C., 512 U.S. 622, 642 (1994); Police Dep’t of




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City of Chicago v. Mosley, 408 U.S. 92, 95 (1972); Am. Booksellers Ass’n, Inc. v. Hudnut, 771

F.2d 323, 328 (7th Cir. 1985), aff’d, 475 U.S. 1001 (1986).

       “The first inquiry a court must undertake when a First Amendment claim is asserted is

whether the plaintiff has engaged in ‘protected speech.’” Goulart v. Meadows, 345 F.3d 239,

246 (4th Cir. 2003) (quoting Cornelius v. NAACP Legal Def. & Educ. Fund, Inc., 473 U.S. 788,

797 (1985)). Plaintiff’s proposed activity—a rally and conference featuring both political and

religious content—is plainly protected speech, and the defendants do not appear to assert

otherwise. See, e.g., Hotel Employees & Restaurant Employees Union, Local 100 v. New York

Dep’t of Parks and Recreation, 311 F.3d 534, 544 (2d Cir. 2002) (“Political . . . rallies,

demonstrations, and leafletting are forms of speech protected under the First Amendment.”

(internal citations omitted)). Likewise, it is clear that the City Defendants’ conduct in barring

plaintiff from the use of the Pavilion constitutes state action within the meaning of the

Fourteenth Amendment. Thus, it was an action taken under color of state law for the purposes of

42 U.S.C. § 1983. See Davison v. Randall, 912 F.3d 666, 679-81 (4th Cir. 2019).

                                     2. What Type of Forum?

       “The existence of a right of access to public property and the standard by which

limitations upon such a right must be evaluated differ depending on the character of the property

at issue.” Perry Educ. Ass’n v. Perry Local Educators’ Ass’n, 460 U.S. 37, 44 (1983). Notably,

“[e]ven protected speech is not equally permissible in all places and at all times. Nothing in the

Constitution requires the Government freely to grant access to all who wish to exercise their

right to free speech on every type of Government property without regard to the nature of the

property or to the disruption that might be caused by the speaker’s activities.” Cornelius, 473

U.S. at 799-800. Therefore, the Court must first “‘identify the nature of the forum, because the



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extent to which the Government may limit access depends on whether the forum is public or

nonpublic.’” Goulart, 345 F.3d at 246 (quoting Cornelius, 473 U.S. at 797).

          “The three recognized types of fora are the traditional public forum, the nonpublic forum,

and the designated or limited public forum.”           Goulart, 345 F.3d at 248.      St. Michael’s

acknowledges that the Pavilion is not a traditional public forum. But, it maintains that the

Pavilion is a designated public forum, because it is “dedicated to general use by the public for a

wide variety of reasons” (ECF 31 at 6), and therefore subject to the same strict scrutiny standard

that applies to a traditional public forum. Id. at 4-8. Conversely, defendants argue that the

Pavilion is nothing more than a nonpublic forum. ECF 25-1 at 14-17; ECF 37 at 1-8.

          “The first category of government property, the traditional public forum, is a place that

‘by long tradition or by government fiat ha[s] been devoted to assembly and debate.’” Goulart,

345 F.3d at 248 (quoting Perry, 460 U.S. at 45). Such locations “‘have the characteristics of a

public thoroughfare, a purpose that is compatible with expressive conduct, as well as a tradition

and history of being used for expressive public conduct.’” Davison, 912 F.3d at 681 (quoting

Am. Civil Liberties Union v. Mote, 423 F.3d 438, 443 (4th Cir. 2005)). Public streets, sidewalks,

and parks are the “archetype of a traditional public forum.” Frisby v. Schultz, 487 U.S. 474, 480

(1988).

          “In the traditional public forum, which includes the streets, sidewalks, parks, and general

meeting halls, speakers’ rights are at their apex.” Steinburg v. Chesterfield Cnty., Planning

Comm’n, 527 F.3d 377, 384 (4th Cir. 2008). These locations occupy a “special position in terms

of First Amendment protection” because, for “[t]ime out of mind,” they “have been used for

public assembly and debate.” Snyder v. Phelps, 562 U.S. 443, 456 (2011) (citations and internal

quotation marks omitted) (alteration in Snyder).



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       The First Amendment “strictly limit[s]” government entities “in their ability to regulate

private speech in . . . ‘traditional public fora.’” Pleasant Grove City, Utah v. Summum, 555 U.S.

460, 469 (2009) (citation omitted). For a public forum, content-based restrictions on speech

must satisfy strict scrutiny. This means that “‘the restriction must be narrowly tailored to serve a

compelling government interest.’” Christian Legal Soc’y Chapter of the Univ. of California,

Hastings College of Law v. Martinez, 561 U.S. 661, 679 n.11 (2010) (quoting Pleasant Grove

City, 555 U.S. at 469); see Reed v. Town of Gilbert, Ariz., 576 U.S. 155, 171 (2015); Arizona

Free Enterprise Club’s Freedom Club PAC v. Bennett, 564 U.S. 721, 734 (2011). As to narrow

tailoring, the government must “prove that no ‘less restrictive alternative’ would serve its

purpose.” Cent. Radio Co. Inc. v. City of Norfolk, Va., 811 F.3d 625, 633 (4th Cir. 2016) (citing

United States v. Playboy Entm’t Grp., Inc., 529 U.S. 803, 813 (2000)). However, “[a] regulation

that serves purposes unrelated to the content of expression is deemed [content] neutral, even if it

has an incidental effect on some speakers or messages but not others.” Ward v. Rock Against

Racism, 491 U.S. 781, 791 (1989).

       Notably, “even in a public forum the government may impose reasonable restrictions on

the time, place, or manner of protected speech ....” Ward, 491 U.S. at 791 (citation omitted); see

City of Cincinnati v. Discovery Network, Inc., 507 U.S. 410, 428 (1993). But, a “time, place, and

manner” restriction on speech must (1) be “‘justified without reference to the content of the

regulated speech’”; (2) be “‘narrowly tailored to serve a significant governmental interest’”; and

(3) “‘leave open ample alternative channels for communication of the information’” that the

speaker wishes to communicate. Ward, 491 U.S. at 791 (quoting Clark v. Cmty. for Creative

Non-Violence, 468 U.S. 288, 293 (1984)); see Perry, 460 U.S. at 45. The government bears the

burden of showing that the regulation satisfies the applicable level of scrutiny. See Deegan v.



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City of Ithaca, 444 F.3d 135, 142 (2d Cir. 2006) (holding that government bears the burden of

showing the restriction is narrowly tailored and justified by the interest asserted).

       Although “a regulation of the time, place, or manner of protected speech must be

narrowly tailored to serve the government’s legitimate, content-neutral interests,” and the

regulation may not “burden substantially more speech than is necessary to further the

government’s legitimate interests,” it “need not be the least restrictive or least intrusive means of

doing so. Rather, the requirement of narrow tailoring is satisfied ‘so long as the . . . regulation

promotes a substantial government interest that would be achieved less effectively absent the

regulation.’” Ward, 491 U.S. at 799 (internal citations and footnote omitted). In other words,

“[s]o long as the means chosen are not substantially broader than necessary to achieve the

government’s interest, . . . the regulation will not be invalid simply because a court concludes

that the government’s interest could be adequately served by some less-speech-restrictive

alternative.” Id. at 800.

       At the other end of the spectrum is the nonpublic forum. A nonpublic forum is “not open

by tradition or designation to the public for expressive activity.” Goulart, 345 F.3d at 238.

Moreover, “opening it to expressive conduct would ‘somehow interfere with the objective use

and purpose to which the property has been dedicated.’” Davison, 912 F.3d at 682 (citation

omitted). “These forums are defined by ‘selective access,’ with permission ‘contingent upon

non-ministerial judgments.’” Child Evangelism Fellowship of S.C. v. Anderson School Dist.

Five, 470 F.3d 1062, 1067 (4th Cir. 2006) (internal citations omitted). The government may

restrict access to a nonpublic forum—even on the basis of subject matter and speaker identity—

as long as “‘the distinctions drawn are reasonable in light of the purpose served by the forum and




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are viewpoint neutral.’” Goulart, 345 F.3d at 248-49 (quoting Cornelius, 473 U.S. at 806); see

also Perry, 460 U.S. at 47; Child Evangelism Fellowship of S.C., 470 F.3d at 1067.

       There is an intermediate tier of forum, which has been variously referred to as a

“designated public forum” or a “limited public forum.” See Christian Legal Soc’y, 561 U.S. at

679 n.11. Sometimes the terms are used interchangeably, but sometimes they are not.

       A governmental entity creates a designated public forum when “government property that

has not traditionally been regarded as a public forum is intentionally opened up for that

purpose[.]” Id. “A designated public forum can only be created by ‘purposeful government

action’ in which ‘the government must intend to make the property generally available.’”

Goulart, 345 F.3d at 249 (quoting Ark. Educ. Television Com’n v. Forbes, 523 U.S. 666, 678

(1998)). And, as with a traditional public forum, content-based speech restrictions are subject to

strict scrutiny. Pleasant Grove City, 555 U.S. at 469-70.

       A limited public forum is established when the government property is “limited to use by

certain groups or dedicated solely to the discussion of certain subjects.” Id. at 470. For a limited

public forum, a government “may impose restrictions on speech that are reasonable and

viewpoint-neutral.” Id.

       Notably, “[t]o maintain a nonpublic forum, the government must employ ‘selective

access’ policies, whereby forum participation is governed by ‘individual, non-ministerial

judgments.’” Child Evangelism Fellowship of MD, Inc. v. Montgomery County Public Schools,

457 F.3d 376, 381 (4th Cir. 2006) (quoting Forbes, 523 U.S. at 680). And, the Supreme Court

explained in Forbes, 523 U.S. at 679: “[T]he government does not create a designated public

forum when it does no more than reserve eligibility for access to the forum to a particular class

of speakers, whose members must then, as individuals, ‘obtain permission’ . . . to use it.”



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(quoting Cornelius, 473 U.S. at 804).        Moreover, “[s]elective access does not transform

government property into a public forum,” unless this access is “granted as a matter of course.”

Perry, 460 U.S. at 47.

       Nevertheless, the precise boundaries between designated, limited, and nonpublic fora

seem somewhat amorphous. In Warren v. Fairfax County, 196 F.3d 186, 193-94 (4th Cir. 1999),

the Fourth Circuit regarded the terms “designated public forum” and “limited public forum” as

interchangeable, a conclusion it restated in Goulart, 345 F.3d at 250-51, and Mote, 423 F.3d at

443. In Goulart, 345 F.3d at 250-51, the Fourth Circuit classified certain community centers as

designated or limited public forums because “permission to use the community centers is not

‘selective,’ but is ‘granted as a matter of course’ to all individuals or groups who fall within the

Use Policy [for the centers].” (quoting Perry, 460 U.S. at 47).

       But, in Child Evangelism Fellowship of MD, Inc., 457 F.3d at 382, the Fourth Circuit

distinguished between designated and limited public forums. It explained that “[i]n a designated

public forum . . . the government makes public property (that would not otherwise qualify as a

traditional public forum) generally accessible to all speakers,” but “[i]n a limited public forum,

the government creates a channel for a specific or limited type of expression where one did not

previously exist.” (Emphasis added). Further, “[i]n a limited public forum . . . the government

may restrict access to ‘certain groups’ or to ‘discussion of certain topics,’ subject to two

limitations: the government restrictions must be both reasonable and viewpoint neutral.” Id. at

383 (quoting Good News Club v. Milford Central School, 533 U.S. 98, 106-07 (2001)).

       The Fourth Circuit also observed that the “most recent opinions” of the Supreme Court

“suggest that there is indeed a distinction” between designated and limited public forums,

pointing to Good News Club, 533 U.S. at 106-07. And, the Fourth Circuit noted that other



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circuits have held that a limited public forum is actually a subset of the larger category of a

designated public forum. Child Evangelism Fellowship of MD, 457 F.3d at 382 n.3. Yet, in a

more recent decision of the Fourth Circuit, the Court referred to “‘[l]imited’ or ‘designated’

forums,” perhaps suggesting that they are interchangeable. See Davison, 912 F.3d (citing Mote,

423 F.3d at 443)).

       The Ninth Circuit has opined that, based on the Supreme Court’s most recent

jurisprudence, “limited public forum” has replaced “nonpublic forum” as the appropriate term

for anything short of a traditional or designated public forum. See Seattle Midwest Awareness

Campaign v. King Cty., 781 F.3d 489, 496 n.2 (9th Cir. 2015) (“We will refer to this last

category [of forum] as ‘limited public forums,’ although in past cases they’ve sometimes been

labeled ‘nonpublic’ forums.” (Internal citations omitted)). The court reasoned, id.: “The label

doesn’t matter, because the same level of First Amendment scrutiny applies to all forums that

aren’t traditional or designated public forums.”

       In any event, as the discussion indicates, the standard of First Amendment scrutiny for a

limited public forum appears to be identical to the standard for nonpublic forums. In a limited

public forum, just as in a nonpublic forum, restrictions on speech must be reasonable and

viewpoint neutral. See, e.g., Christian Legal Soc’y, 561 U.S. at 679 (“[T]he Court has permitted

restrictions on access to a limited public forum . . . with this key caveat: Any access barrier must

be reasonable and viewpoint neutral.”); Pleasant Grove City, 555 U.S. at 470 (“The Court has

also held that a government entity may create a forum that is limited to use by certain groups or

dedicated solely to the discussion of certain subjects. In such a forum, a government entity may

impose restrictions on speech that are reasonable and viewpoint neutral.” (internal citation

omitted)); Good News Club, 533 U.S. at 106-07 (“[In a limited public forum], [t]he State’s



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power to restrict speech . . . is not without limits. The restriction must not discriminate against

speech on the basis of viewpoint, and the restriction must be ‘reasonable in light of the purpose

served by the forum.’” (internal quotations omitted)); Rosenberger v. Rector & Visitors of Univ.

of Va., 515 U.S. 819, 829 (1995) (“Once it has opened a limited forum . . . the State must respect

the lawful boundaries it has itself set. The State may not exclude speech where its distinction is

not ‘reasonable in light of the purpose served by the forum,’ nor may it discriminate against

speech on the basis of its viewpoint.” (internal quotations omitted)); Steinburg, 527 F.3d at 385

(“In a limited public forum . . . the government still ‘must not discriminate against speech on the

basis of viewpoint, and any restriction must be reasonable in light of the purpose served by the

forum.’” (internal quotations omitted)); Page v. Lexington Cty. School Dist. One, 531 F.3d 275,

286 (4th Cir. 2008) (“Regardless of whether the newsletter was a nonpublic or limited public

forum, ‘[c]ontrol over access to [the forum] can be based on subject matter and speaker identity

so long as the distinctions drawn are reasonable in light of the purpose served by the forum and

are viewpoint neutral.’”) (internal quotation omitted) (alterations in Page).

       Moreover, forum analysis cases recognize that it is appropriate to impose a more lenient

standard of scrutiny on the government when it acts as a proprietor, rather than as a lawmaker or

regulator. “It is a long-settled principle that governmental actions are subject to a lower level of

First Amendment scrutiny when ‘the governmental function operating . . . [is] not the power to

regulate or license, as lawmaker, . . . but, rather, as proprietor, to manage [its] internal

operation[s] . . . .’” United States v. Kokinda, 497 U.S. 720, 725 (1990) (quoting Cafeteria &

Restaurant Workers v. McElroy, 367 U.S. 886, 896 (1961)) (alterations in Kokinda). “[T]he

Government, ’no less than a private owner of property, has power to preserve the property under

its control for the use to which it is lawfully dedicated. . . .’” Cornelius, 473 U.S. at 800 (quoting



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Greer v. Spock, 424 U.S. 828, 836 (1976)). This principle applies when a government is acting

“as part of a commercial venture.” Lehman v. City of Shaker Heights, 418 U.S. 298, 303 (1990).

       Understandably given the posture of the case, and the lack of discovery, the record is not

fully developed as to the appropriate status of the Pavilion. However, based on the evidence that

has been presented, the Pavilion appears to qualify as a nonpublic forum, or perhaps a limited

public forum. The Pavilion is a commercial, proprietary facility owned by the City and operated

by a private company, largely as a for-profit music and entertainment venue. ECF 25-2, ¶¶ 2-5.

Defendants describe the Pavilion as “selective and commercial in nature,” and as “a commercial

venue that is reserved to selected speakers and performers based on the subjective criteria of the

operator.” ECF 37 at 1-2. They represent that, “[a]t the end of the day, the purpose of [the

Pavilion] is to make money as an entertainment venue – not suppress or elevate certain types of

speech.” Id. at 2.

       The City’s characterization is supported by the limited financial details introduced in

evidence with respect to the facility; rent and a percentage of ticket sales are paid to the City,

with surplus payable to Live Nation and SMG. See ECF 25-2, ¶ 5; ECF 37-1, ¶¶ 4-7. The

Ticketmaster Venue Guide for the facility describes the Pavilion as “Baltimore’s premiere venue

for outdoor summer concerts.” ECF 31-4 at 3. And, the Royal Farms Arena calls the Pavilion

“the perfect space to enjoy entertainment along Baltimore’s famed Inner Harbor.” ECF 31-1.

       And, it is undisputed that the Pavilion has previously hosted various musical and comedy

acts. See ECF 31 at 7 n.9; ECF 31-4; ECF 31-5; ECF 31-6; ECF 31-7. Although the venue is

marketed to musical artists and other performers, use of the Pavilion is not “granted as a matter

of course” to any performer. Perry, 460 U.S. at 47. According to defendants, “individuals

seeking use of [the Pavilion] must still obtain permission via negotiations and a contract to



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utilize the space.” ECF 37-1 at 3. Indeed, as plaintiff’s own interactions with SMG regarding

the use of the Pavilion reflect, making arrangements to use the Pavilion is an involved process,

requiring negotiations as to numerous topics.

       St. Michael’s argues that “there is no suggestion that the City of Baltimore or SMG

carefully curate who may book which events at the Pavilion as part of a comprehensive strategy

for the economic area. Rather, nearly any member of the public may book nearly any kind of

event there.” ECF 31 at 8. Defendants disagree. See ECF 37 at 1-6. And, the record simply

does not support the conclusion that “nearly any member of the public may book nearly any kind

of event” at the Pavilion. ECF 31 at 8 (emphasis added).

       It is certainly true that plaintiff’s rally in 2018 took place at the Pavilion. However, this

does not alter the conclusion that an applicant is required to obtain a contract for use of the

facility, as plaintiff did in 2018. And, the discussions between St. Michael’s and SMG in 2021

involved commercial considerations of the type that would not be typical of a public space

available to all comers. For example, when St. Michael’s sold tickets for the rally, SMG warned

St. Michael’s that this would require the rally to be reclassified as a ticketed event, with tickets to

be sold only through Ticketmaster. ECF 16-2 at 24.

       The excerpt of the City’s contract with SMG also supports the conception that the

Pavilion is not a designated public forum. The clause provides: “[SMG] agrees that it will not

allow any public event to be held at the Facilities [including the Pavilion] which utilizes artists

that have not performed at another similarly situated venue owned or operated by Live Nation.”

ECF 14-3 at 2 (quoting Clause 11 of the contract). SMG must provide notice to the City of any

bookings of performers, so as to give the City the opportunity to object, and the clause creates a

process by which the City may provide SMG with objections or complaints. Id. This hardly



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suggests a generally available expressive space not informed by selectivity or commercial

factors.

           In short, the City cannot be said to have taken “‘purposeful government action’” to make

the Pavilion “‘generally available,’” Goulart, 345 F.3d at 249 (quoting Forbes, 523 U.S. at

678)—much less “generally accessible to all speakers,” as is required to constitute a designated

public forum. Child Evangelism Fellowship of MD, 457 F.3d at 382 (emphasis added). To the

contrary, access to the Pavilion is “selective,” with “permission ‘contingent upon non-ministerial

judgments.’” Child Evangelism Fellowship of S.C., 470 F.3d at 1067 (internal citations omitted).

           This conclusion is also supported by case law concerning similar facilities. For example,

in Chicago Acorn v. Metropolitan Pier and Exposition Authority, 150 F.3d 695, 698-701 (7th

Cir. 1998), the Seventh Circuit held that Chicago’s Navy Pier, including a convention hall with

meeting rooms available for rental, was a nonpublic forum. As Judge Posner wrote, this was

because, “[i]n deciding whom to rent to and at what price, the [Metropolitan Pier and Exposition

Authority] seeks to maximize positive spillovers and minimize negative ones, since as we have

said the spillovers affect the MPEA’s revenues from its other customers . . . . Selectivity and

restriction are of the essence of the commercial strategy that informs the MPEA’s management

of the pier.” Id. at 700. Despite plaintiff’s argument that this does not describe the Pavilion, the

basic concept of a commercial-based selection approach seems likewise to mark the Pavilion.

           And, more than a decade later, again in regard to the Navy Pier, the Seventh Circuit

reiterated: “The pier’s designation as a nonpublic forum appropriately reflects its commercial

nature. Though it is a recreational area open to the public, the pier itself primarily consists of

event spaces, stores, restaurants, theaters, and an amusement park. Its nature is one of private

enterprise with tangential public benefit; . . . the revenue-generating outlets that support the pier



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fuel tourism and make these public benefits possible.” Marcavage v. City of Chicago, 659 F.3d

626, 633 (7th Cir. 2011).

       Numerous cases reach similar results. See, e.g., Pomicter v. Luzerne Cty. Convention

Ctr. Auth., 939 F.3d 534, 539-41 (3d Cir. 2019) (concourse of the Mohegan Sun Arena); United

Church of Christ v. Gateway Econ. Development Corp. of Greater Cleveland, Inc., 383 F.3d 449,

453 (6th Cir. 2002) (plazas and interior streets within a sports complex); New England Reg’l

Council of Carpenters v. Kinton, 284 F.3d 9, 22-23 (1st Cir. 2002) (pier primarily still a

commercial fishery, but also containing conference center and offices); Hawkins v. City and Cty.

of Denver, 170 F.3d 1281, 1287-88 (10th Cir. 1999) (open air walkway for a performing arts

center); Hubbard Broadcasting, Inc. v. Metro. Sports Facilities Comm’n, 797 F.2d 552, 555 (8th

Cir. 1986) (expressing doubt that the Metrodome arena is a public forum, because it is a

“commercial venture” designed to meet the area’s need for a major sports facility while

providing economic benefits); Calash v. City of Bridgeport, 788 F.2d 80, 83-84 (2d Cir. 1982)

(stadium for which some organizations were granted selective access, but not opened to the

general public for all uses); Int’l Soc. for Krishna Consciousness, Inc. v. N.J. Sports and

Exposition Auth., 691 F.2d 155, 159-61 (3d Cir. 1982) (Meadowlands race track and stadium, a

“commercial venture by the state . . . designed to bring economic benefits to northern New

Jersey, and . . . expected to generate at least enough revenue to meet its current expenses and

debt service,” which “earns money by attracting and entertaining spectators”); Florida Gun

Shows v. City of Fort Lauderdale, No. 18-62345-FAM, 2019 WL 2026496, at *9-*10 (S.D. Fla. )

(arena and convention center with some history of selective access).

       The instant case is distinguishable from Southeastern Promotions v. Conrad, 420 U.S.

546, 547-558 (1975), which is cited by St. Michael’s. As the Seventh Circuit explained in



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Chicago Acorn, 150 F.3d at 700, with respect to the municipally-leased theater at issue in

Southeastern Promotions, “any member of the public was welcome who could pay the admission

price.” This was unlike Navy Pier, where the rental strategy was based on “[s]electivity and

restriction.” Id. Or, as the Fourth Circuit put it in Goulart, 345 F.3d at 249, the Southeastern

Promotions theater was “designed for and dedicated to expressive activities.” And, in Ward, 491

U.S. at 790-91, the Supreme Court struck down municipal noise regulations for a publicly owned

park bandshell “open, apparently, to all performers,” remarking: “We need not here discuss

whether a municipality which owns a bandstand or stage facility may exercise, in some

circumstances, a proprietary right to select performances and control their quality.”

       In the posture of the case, I conclude that the Pavilion is a nonpublic forum or, at most, a

limited public forum, “limited to use by certain groups or dedicated solely to the discussion of

certain subjects.” Pleasant Grove City, 555 U.S. at 470. Whether Pier VI is classified as a

nonpublic forum or a limited public forum, the analysis would be the same. This is because the

standards concerning restrictions on speech for a limited public forum and a nonpublic forum are

essentially the same.

                                    3. Viewpoint Discrimination

       The Court next considers whether the City’s “‘justifications for exclusion from the

relevant forum satisfy the requisite standard.’” Goulart, 345 F.3d at 246 (quoting Cornelius, 473

U.S. at 797). As noted, the government may restrict access to a nonpublic forum or a limited

forum, even on the basis of subject matter and speaker identity, so long as “‘the distinctions

drawn are reasonable in light of the purpose served by the forum and are viewpoint neutral.’”

Goulart, 345 F.3d at 248-49 (quoting Cornelius, 473 U.S. at 806) (emphasis added); see also




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Perry, 460 U.S. at 47; Child Evangelism Fellowship of S.C., 470 F.3d at 1067; Child Evangelism

Fellowship of MD, 457 F.3d at 383.

        St. Michael’s makes the serious charge that, in rejecting plaintiff’s effort to rent the

Pavilion for the rally, the City Defendants engaged in viewpoint discrimination. Even under the

more lenient standard applied to nonpublic and limited fora, viewpoint discrimination is

constitutionally impermissible. See Child Evangelism Fellowship of S.C., 470 F.3d at 1067

(“The ban on viewpoint discrimination is a constant.”). I conclude that plaintiff is likely to

succeed on the merits of its claim that the City was not viewpoint-neutral in barring the rally.

Therefore, I need not consider whether the City’s actions would have been reasonable in the

absence of viewpoint discrimination.

        “Viewpoint-based discrimination occurs when a government official ‘targets not subject

matter, but particular views taken by speakers on a subject.’” Robertson v. Anderson Mill

Elementary Sch., 989 F.3d 282, 290 (4th Cir. 2021) (quoting Rosenberger, 515 U.S. at 829).

Viewpoint-based restrictions are a subset of content-based restrictions. See Barr, 140 S. Ct. at

2346.   Indeed, viewpoint discrimination is “an egregious form of content discrimination.”

Rosenberger, 515 U.S. at 829; see McCullen v. Coakley, 573 U.S. 464, 484-85 (2014) (noting

than an exemption for a group on only one side of the abortion debate would constitute a clear

form of viewpoint discrimination); Davison, 912 F.3d at 687 (stating that viewpoint

discrimination “‘targets’” a speaker’s view on a subject and concluding that public official’s

conduct in banning a constituent from the public official’s Facebook page constituted viewpoint

discrimination) (citation omitted); Sons of Confederate Veterans, Inc. ex rel. Griffin v. Comm’r

of Virginia Dep’t of Motor Vehicles, 288 F.3d 610, 623 (4th Cir. 2002) (“Viewpoint

discrimination is a kind of content discrimination, but is not always easily distinguishable.”).



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       However, “[t]he protections afforded by the First Amendment . . . are not absolute . . . .

Black, 538 U.S. at 358. The Supreme Court has “long recognized that the government may

regulate certain categories of expression . . . .” Id. For instance, certain categories of speech

deemed to be “of such slight social value’” do not receive the protections of the First

Amendment.      Id. (citation omitted).    These categories include “fighting words,” words

“‘inherently likely to provoke violent reaction,’” incitement of “imminent lawless action,” and a

“‘true threat’”, among others. Id. at 359 (citations omitted); see R.A.V. v. City of St. Paul, 505

U.S. 377, 383 (1992); Glenn v. Holder, 690 F.3d 417, 421 (6th Cir. 2012); United States v. Bly,

510 F.3d 453, 458 (4th Cir. 2007).

       Because “the First Amendment protects speech along a spectrum,” Fusaro v. Cogan, 930

F.3d 241, 248 (4th Cir. 2019), laws burdening speech “receive different levels of judicial

scrutiny depending on the type of regulation and the justifications and purposes underlying it.”

Stuart v. Camnitz, 774 F.3d 238, 244 (4th Cir. 2014). But, “[r]estrictions on speech based on its

content are ‘presumptively invalid’ and subject to strict scrutiny.” Ysursa v. Pocatello Educ.

Ass’n, 555 U.S. 353, 358 (2009) (citation omitted); see Barr, 140 S. Ct. at 2346 (“Content-based

laws are subject to strict scrutiny.”); Rosenberger 515 U.S. at 829–830 (characterizing viewpoint

discrimination as “presumptively unconstitutional”); Bible Believers v. Wayne Cty., Mich., 805

F.3d 228, 248 (6th Cir. 2015) (“Both content- and viewpoint-based discrimination are subject to

strict scrutiny.”). As discussed earlier, strict scrutiny applies to content-based restrictions of

speech in a traditional public forum. Strict scrutiny requires that “‘the restriction must be

narrowly tailored to serve a compelling government interest.’” Christian Legal Soc’y, 561 U.S.

at 679 n.11 (quoting Pleasant Grove City, 555 U.S. at 469).




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       Notwithstanding the traditional strict scrutiny approach that applies to viewpoint-based

discrimination, content-based distinctions may occur in a nonpublic or limited public forum.

See, e.g., Minn. Voters Alliance v. Mansky, ___ U.S. ___, 138 S. Ct. 1876, 1885-86 (2018)

(“[O]ur decisions have long recognized that the government may impose some content-based

restrictions on speech in nonpublic forums . . . .”); Am. Freedom Defense Initiative v. Suburban

Mobility Auth. for Reg’l Transp., 978 F.3d 481, 491 (6th Cir. 2020) (noting that in forums

“sometimes called” either nonpublic or limited public, “the government may make content-based

distinctions that would largely be invalid in public forums.”); Nat’l Assoc. for Advancement of

Colored People v. City of Philadelphia, 834 F.3d 435, 441 (3d Cir. 2016) (in “category . . .

sometimes called a limited public forum and other times labeled a nonpublic forum. . . . Content-

based restrictions are valid as long as they are reasonable and viewpoint neutral.”); Child

Evangelism Fellowship of S.C., 470 F.3d at 1067 (stating that in both nonpublic and limited

public forums, “the state may reserve the forum ‘for certain groups or for the discussion of

certain topics,’ but it ‘must not discriminate against speech on the basis of viewpoint’” (internal

citations omitted)). But, the “government has no power to restrict expression because of its

message, its ideas, its subject matter, or its content.” Mosley, 408 U.S. at 95. Therefore, “‘a

viewpoint-based restriction of private speech rarely, if ever, will withstand strict scrutiny

review.’” Greater Balt. Ctr. for Pregnancy Concerns, Inc. v. Mayor & City Council of Balt., 721

F.3d 264, 288 (4th Cir. 2013) (en banc) (citation omitted).

       “Moreover, viewpoint neutrality requires not just that a government refrain from explicit

viewpoint discrimination, but also that it provide adequate safeguards to protect against the

improper exclusion of viewpoints.” Child Evangelism Fellowship of MD, 457 F.3d at 384

(emphasis in original). However, “[a] regulation that serves purposes unrelated to the content of



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expression is deemed [content] neutral, even if it has an incidental effect on some speakers or

messages but not others.” Ward, 491 U.S. at 791; see, e.g., Renton v. Playtime Theatres, Inc.,

475 U.S. 41, 47–49 (1986) (upholding zoning regulations for adult movie theaters against First

Amendment challenge because regulations were justified by city’s concern for “secondary

effects” on surrounding neighborhoods, even though the regulations “treat[ed] theaters that

specialize in adult films differently from other kinds of theaters”).

       “The Supreme Court has made clear that the ‘principal inquiry’ in assessing a claim of

viewpoint discrimination ‘is whether the government has adopted a regulation of speech because

of [agreement or] disagreement with the message it conveys.’” Planned Parenthood of S.C. Inc.

v. Rose, 361 F.3d 786, 795 (4th Cir. 2004) (quoting Ward, 491 U.S. at 791) (alteration in Rose).

Of course, “the government rarely flatly admits it is engaging in viewpoint discrimination.”

Ridley v. Mass. Bay Trans. Auth., 390 F.3d 65, 86 (1st Cir. 2004), partially abrogated on other

grounds by Matal v. Tam, ___ U.S. ___, 137 S. Ct. 1744 (2017). Therefore, the courts have

employed various factors to determine if the government’s justification for a restriction on

speech was actually a pretext for viewpoint discrimination.

       In Am. Freedom Defense Initiative v. Wash. Metro. Area Transit Auth., 901 F.3d 356,

365-66 (D.C. Cir. 2018), the D.C. Circuit compared the endeavor to the test to ferret out racial

discrimination, articulated by the Supreme Court in Village of Arlington Heights v. Metropolitan

Housing Development Corp., 429 U.S. 252, 267 (1977). Relevant factors include consideration

of statements made by government officials concerning the reasons for an action; disparate

treatment towards people or things sharing the characteristic that was the nominal justification

for the action; a “loose or nonexistent” “fit between means and ends,” Ridley, 395 F.3d at 86; the

historical background of the decision; the specific sequence of events leading up to the decision;



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departures from normal procedures or substance; and post hoc rationalization. See also Am.

Freedom Defense Initiative, 901 F.3d at 365-66; Pittsburgh League of Young Voters Educ. Fund

v. Port Auth. of Allegheny Cty., 653 F.3d 290, 297-99 (3d Cir. 2011); Ridley, 390 F.3d at 87.

       “[W]here an evaluation of a given restriction and the surrounding circumstances indicates

that one or more speakers are favored over others, and further that the basis for the restriction is

in fact the message the disfavored speaker seeks to convey, the restriction violates the First

Amendment.” Sons of Confederate Veterans, Inc. ex rel. Griffin, 288 F.3d at 624. “Moreover,

where restrictions or regulations of speech discriminate on the basis of the content of speech,

there is an ‘inherent risk that the Government seeks not to advance a legitimate regulatory goal,

but to suppress unpopular ideas or information or manipulate the public debate through coercion

rather than persuasion…’—in other words, to exercise viewpoint discrimination.” Id. (quoting

Turner Broadcasting Sys., Inc., 512 U.S. at 642-43).

       In the Huber and Shea declarations and in the City’s briefing, the City Defendants

invoked controversial, inflammatory speech by rally speakers, as well as plaintiff’s alleged

support of the attack on the Capitol, as grounds for cancellation of plaintiff’s event. This is

suggestive of viewpoint discrimination.

       At length, the Opposition recounts the history of “incendiary and hateful rhetoric” of

Voris, Bannon, and Yiannopoulos. ECF 25-1 at 11. Perhaps to show plaintiff’s “propensity for

disruption,” the Opposition also describes plaintiff’s position as an “active propagandist for the

claim that the November 2020 Presidential Election was stolen from Donald Trump,”

chronicling statements by Voris “glorif[ying] the January 6 “Capitol insurrectionists.” Id. at 6-7.

And, Huber averred in his Declaration that Bannon and other intended speakers “support[ed] the

January 6 attack on the Capitol. . . .” ECF 25-3, ¶ 4. Voris subsequently testified that in August



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2021, when he spoke to Shea about the City’s decision, Shea claimed that St. Michael’s had

“ties” to the January 6 attack on the Capitol. See ECF 8-1, ¶ 18.

       Two additional concepts are relevant to the analysis of viewpoint discrimination. The

first is the constitutional danger imposed by “unfettered discretion.” The second concerns the

so-called “heckler’s veto.”

       “The Supreme Court has long held that the government violates the First Amendment

when it gives a public official unbounded discretion to decide which speakers may access a

traditional public forum.” Child Evangelism Fellowship of MD, 457 F.3d at 386. “[T]he danger

of censorship and of abridgment of our precious First Amendment freedoms is too great where

officials have unbridled discretion over a forum’s use.” Southeastern Promotions, 420 U.S. at

553.

       This principle is important for two reasons. “First, [unbridled discretion’s] existence,

‘coupled with the power of prior restraint, intimidates parties into censoring their own speech,

even if the discretion and power are never actually abused.’” Child Evangelism Fellowship of

MD, 457 F.3d at 386 (quoting City of Lakewood v. Plain Dealer Pub. Co., 486 U.S. 750, 757

(1988)). “Second, ‘the absence of express standards’ renders it difficult to differentiate between

a legitimate denial of access and an ‘illegitimate abuse of censorial power.’” Child Evangelism

Fellowship of MD, 457 F.3d at 386 (quoting City of Lakewood, 486 U.S. at 758).

       In Child Evangelism Fellowship of MD, 457 F.3d at 386-87, the Fourth Circuit

determined that the matter of unfettered discretion also applies to nonpublic and limited public

forums. It said, id.: “[T]he dangers posed by unbridled discretion—particularly the ability to

hide unconstitutional viewpoint discrimination—are just as present in other forums. Thus, there




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is broad agreement that, even in limited public and nonpublic forums, investing governmental

officials with boundless discretion over access to the forum violates the First Amendment.”

          To be sure, in the context of a nonpublic or limited public forum, the unbridled discretion

analysis is not identical to the analysis in a public forum. But, it by no means disappears

entirely. As the Fourth Circuit explained, id. at 387 (internal citations omitted) (emphasis

added):

                  This does not mean that the unbridled discretion analysis is precisely the
          same when a limited public or nonpublic forum, rather than a traditional public
          forum, is involved. The unbridled discretion inquiry is “not [a] static inquir[y],
          impervious to context”; rather, a court will review a grant of discretion “in light of
          the characteristic nature and function of that forum.” “[T]hat discretionary access
          is a defining characteristic of the nonpublic forum suggests that more official
          discretion is permissible in a nonpublic forum than would be acceptable in a
          public forum,” but even so, this does not “insulate” restrictions on nonpublic or
          limited public forums “from an unbridled discretion challenge.” For this reason,
          even in cases involving nonpublic or limited public forums, a policy (like the one
          at issue here) that permits officials to deny access for any reason, or that does not
          provide sufficient criteria to prevent viewpoint discrimination, generally will not
          survive constitutional scrutiny.

          Therefore, the Fourth Circuit struck down a policy of a county public school system in

Maryland that gave the system “unfettered discretion” to deny access to a procedure by which

community groups could send flyers home with students. Id. at 387-89. What the defendant

could not do, the Court ruled, was “what it has done here: assertedly limit access to certain

purportedly neutral speakers but actually reserve to itself unbridled discretion to permit or deny

access to any speaker for any reason it chooses. . . . Because the policy offers no protection

against the discriminatory exercise of [defendant’s] discretion, it creates too great a risk of

viewpoint discrimination to survive constitutional scrutiny.” Id. at 389.

          This principle seems to apply even if there is no formal “policy,” but merely ad hoc

discretion. See, e.g., Summum v. Callaghan, 130 F.3d 906, 910 (10th Cir. 1997) (“The County



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does not have any written or unwritten rules, regulations, policies or practices governing the

placement of permanent displays on county property to guide the Commissioners in making

[decisions as to such displays].”). And, it applies even when the government is acting in a

proprietary capacity, rather than in a regulatory or licensing capacity. See, e.g., Atlanta Journal

and Const. v. City of Atlanta Dep’t of Aviation, 322 F.3d 1298, 1301, 1310-11 (11th Cir. 2003)

(applying the unrestrained discretion analysis to an airport newspaper sales system implemented

by a government agency that was “statutorily charged to be self-sufficient and acting in such

proprietary capacity”).

        As mentioned, the second concept is that of a “heckler’s veto.” “Historically, one of the

most persistent and insidious threats to first amendment rights has been that posed by the

‘heckler’s veto,’ imposed by the successful importuning of government to curtail ‘offensive’

speech at peril of suffering disruptions of public order.” Berger v. Battaglia, 779 F.2d 992, 1001

(4th Cir.1985).

        It is a fundamental principle of First Amendment jurisprudence that the “[l]isteners’

reaction to speech is not a content-neutral basis for regulation.” Forsyth County v. Nationalist

Movement, 505 U.S. 123, 134 (1992) (invalidating ordinance that allowed county administrator

to adjust parade permit fees based on anticipated cost of security); see Gathright v. City of

Portland, 439 F.3d 573, 578 (9th Cir. 2006) (“First Amendment jurisprudence is clear that the

way to oppose offensive speech is by more speech, not censorship, enforced silence or eviction

from legitimately occupied public space.”); Ovadal v. City of Madison, 416 F.3d 531, 537 (7th

Cir. 2005) (a content-based restriction of speech is likely when “every proffered justification” for

the restriction is “directly related to the reactions” of the audience).




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         “Speakers of protected speech—even speech that is offensive to many listeners—may not

be punished because their critics ‘might react with disorder or violence.’” Deferio v. City of

Syracuse, 306 F. Supp. 3d 492, 510 (N.D.N.Y. 2018) (quoting Brown v. Louisiana, 383 U.S.

131, 133 n.1 (1966)). In Boos v. Barry, 485 U.S. 312, 322 (1988), the Supreme Court said: “[I]n

public debate our own citizens must tolerate insulting, and even outrageous, speech in order to

provide adequate breathing space to the freedoms protected by the First Amendment.” (citations

and internal quotation marks omitted). Indeed, “[s]peech that stirs passions, resentment or anger

is fully protected by the First Amendment.” Collins v. Jordan, 110 F.3d 1363, 1371 (9th Cir.

1996).

         Fourth Circuit case law makes clear that permitting a heckler’s veto is a content-based

restriction on speech. See, e.g., Rock for Life-UMBC v. Hrabowski, 411 F. App’x 541, 554 (4th

Cir. 2010) (“Courts have recognized a heckler’s veto as an impermissible form of content-based

speech regulation for over sixty years.”). But, to my knowledge, the Fourth Circuit has not

clarified whether or when the heckler’s veto amounts to viewpoint discrimination. This is

important because, as discussed, content-based regulations may be permissible in the context of a

nonpublic or limited public forum, but viewpoint-based restrictions are not.

         However, other circuits that have addressed this issue have concluded that a heckler’s

veto can, at least in some contexts, implicate viewpoint discrimination. In Bible Believers, 805

F.3d at 228, the Sixth Circuit squarely held that “[t]he heckler’s veto is precisely that type of

odious viewpoint discrimination.” And in Seattle Mideast Awareness Campaign, 781 F.3d at

502-03, the Ninth Circuit remarked that concerns regarding a heckler’s veto “do not carry the

same weight” outside of a traditional or designated public forum, but may sometimes raise

concerns as to viewpoint discrimination. “A claimed fear of hostile audience reaction could be



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used as a mere pretext for suppressing expression because public officials oppose the speaker’s

point of view. That might be the case, for example, where the asserted fears of a hostile audience

reaction are speculative and lack substance, or where speech on only one side of a contentious

debate is suppressed.” Id.

       Applying these principles to the facts before the Court, plaintiff is likely to succeed on its

claim that the City’s conduct was not viewpoint-neutral. Without question, the City reacted to a

perceived safety concern arising from past use of inflammatory remarks by some of the rally

speakers. In thwarting the rally, the City essentially invoked or relied on the heckler’s veto.

And, in doing so, it exercised complete, unfettered discretion; it acted on an ad hoc basis, without

any standards.   Further, it has presented somewhat shifting justifications for its actions, with

little evidence to show that the decision was premised on these justifications.

       As to the matter of discretion, the City apparently has unbridled discretion to determine

whether, when, and how to intervene in bookings of the Pavilion. The record before the Court

indicates that the process used here was entirely ad hoc. After plaintiff’s plans came to the

attention of the City, the City decided to intervene with SMG, requiring SMG to terminate

negotiations with St. Michael’s. See ECF 25-3, ¶¶ 3-6. No policies, guidelines, or procedures

have been brought to the attention of the Court providing any factors or systematized approach

governing the City’s actions here. As far as the Court is aware, none exist.

       When the Court sought additional briefing from defendants, the Court specifically asked

for “facts as to the discretion exercised by the City defendants in making determinations as to the

use of the Pavilion, and any existing standards that govern such determinations.” ECF 34. But,

defendants’ surreply provided no such facts or standards. See ECF 37 at 8-9.




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        In their surreply, defendants argue: “Issues around unfettered discretion only occur when

the government is acting as a regulator or lawmaker.” Id. at 8. Although such issues commonly

occur in that context, the general prescription against unfettered discretion applies in the

proprietary context as well.       Certainly, nothing in the Fourth Circuit’s opinion in Child

Evangelism Fellowship of MD exempts the City, acting as proprietor, from the Court’s holding

concerning the exercise of unbridled discretion. And, as noted, other cases have applied the

doctrine in the proprietary context.

        At the hearing, the defense argued that it is unrealistic for the City to have a policy in

place regarding the Pavilion because determinations as to use of the Pavilion must be made on a

case-by-case basis, with latitude afforded to the City to respond to particular circumstances.

Indeed, according to Voris, when he spoke with Shea in August 2021, Shea told him: “When we

[i.e., the City] receive what we consider credible threats, we act.” ECF 8-1, ¶ 45.

        There are, no doubt, true emergencies in the life of a city, when officials must act

immediately to protect life and property.        A municipality cannot anticipate every crisis or

eventuality, with a written policy or guidelines in place. 29 Therefore, the City must be afforded

some flexibility in the face of unexpected events or circumstances. And, in regard to the First

Amendment, nonpublic, proprietary status of a venue can confer a greater degree of discretion

than in other contexts.      See Child Evangelism Fellowship of MD, 457 F.3d at 387 (“The

unbridled discretion inquiry is ‘not [a] static inquir[y], impervious to context’; rather, a court will

review a grant of discretion ‘in light of the characteristic nature and function of that forum.’”

(internal citations omitted)).




        29
             The unprecedented horrors of September 11, 2001, sadly illustrate this point.
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       But, the matter at hand does not constitute an emergency. And, the occurrence is of a

kind that certainly could be anticipated, especially given that the venue has been open since

1981. The need for flexibility does not preclude at least some standards for the exercise of the

City’s discretion in regard to Pavilion bookings.

       “[E]ven in cases involving nonpublic or limited public forums, a policy . . . that permits

officials to deny access for any reason, or that does not provide sufficient criteria to prevent

viewpoint discrimination, generally will not survive constitutional scrutiny.” Child Evangelism

Fellowship of MD, 457 F.3d at 387. Unbridled discretion is disfavored because “‘the absence of

express standards’ renders it difficult to differentiate between a legitimate denial of access and an

‘illegitimate abuse of censorial power.’” Id. at 386 (quoting City of Lakewood, 486 U.S. at 758).

Here, the City has asserted public safety justifications for its action. Determining whether that

assertion is a pretext for suppression of viewpoint has been made difficult precisely because of

the City’s ad hoc, standard-free approach to its intervention in the Pavilion booking process.

       In Atlanta Journal and Constitution, 322 F.3d at 1303-04, the City of Atlanta’s

Department of Aviation adopted a newspaper distribution system for Hartsfield-Jackson

International Airport. The Eleventh Circuit struck down the policy as unconstitutional for its

“boundless discretion.” Id. at 1310-11. In particular, the official charged with administering the

system had no “clear standards by which to accept or reject a publisher’s request to use the

newsracks” at the airport. Id. at 1311. The court remarked, id. (emphasis added): “None of the

Department’s proffered reasons for regulation, including its interest as a proprietor, can justify

this grant of discretion. . . . [under the unconstitutional system] the City, even acting as a

proprietor, retains its power to censor.”




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       The City’s invocation of a heckler’s veto also raises serious concerns that its decision was

motivated by viewpoint discrimination. Huber cited the prospect of counter protestors when

explaining the City’s decision. ECF 25-3, ¶¶ 4, 6. And, at the hearing, counsel for the City

placed considerable weight on the City’s concerns as to counter protestors and the disruption and

potential violence that might ensue. In other words, the City seems to have based its decision on

the anticipated reaction of counter protestors, which is precisely the “persistent and insidious

threat[s] to first amendment rights” discussed in Berger, 779 F.2d at 1001: the “successful

importuning of government to curtail ‘offensive’ speech at peril of suffering disruptions of

public order.”

       At argument, counsel for defendants cited Int’l Soc. for Krishna Consciousness v. Lee,

505 U.S 672 (1992), for the proposition that a heckler’s veto is permissible in a nonpublic forum.

But, nothing in that case supports such a broad proposition. At most, the case notes that if the

defendant were to have to give the plaintiff group permission to solicit at airports, it would have

to give other groups the same right, creating crowd control issues. Id. at 685.

       To my knowledge, the concept of the heckler’s veto is applicable even as to a nonpublic

forum. As the Ninth Circuit put it in Seattle Mideast Awareness Campaign, 781 F.3d at 502-03,

although this concern might receive less weight outside of a traditional or designated public

forum context, it is still relevant when “used as a mere pretext for suppression expression” based

on viewpoint. This includes, for example, “where the asserted fears of a hostile audience

reaction are speculative and lack substance.” Id. at 503.

       Such is the case here. The City cannot conjure up hypothetical hecklers and then grant

them veto power.




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       Moreover, invocation of the events of January 6, 2021, as horrifying as they were,

cannot, without more, serve as a license for the City to dispense with its obligations under the

First Amendment. The relevance of any of the City’s discussion of plaintiff’s stance regarding

the January 6 events to the City’s public safety concerns is attenuated at best.             This is

underscored by the fact that the City never accuses St. Michael’s of actual involvement in the

events of January 6, 2021. Rather, it is critical of plaintiff for its coverage and support of the

occurrence.   Likewise, the City mentions racist rhetoric by Yiannopoulos, with little clear

connection to public safety concerns. ECF 25-1 at 9-10.

       Without question, many people might be offended by plaintiff’s alleged support for those

who stormed the Capitol, or for plaintiff’s alleged promotion of the belief that Mr. Trump was

the true winner of the 2020 presidential election.       But, “[i]f there is a bedrock principle

underlying the First Amendment, it is that the government may not prohibit the expression of an

idea simply because society finds the idea itself offensive or disagreeable.” Texas v. Johnson,

491 U.S. 397, 414 (1989).

       As indicated, in its Opposition, the City also advanced several justifications for its actions

that are not reflected in the Huber or Shea declarations. This is problematic.

       In particular, the City added as a consideration the understaffed, burdened Baltimore

Police Department. The shortage of police officers is documented in separate litigation between

the Baltimore Police Department, the City, and the Department of Justice, which culminated in a

consent decree. See United States v. Balt. Police Dep’t, et al., JKB-17-099. The City also

expressed concern about the litigation risk the City could face if violence were to ensue. In this

regard, it suggests that this concern is quite legitimate, given the suit now pending against the

City in federal court, arising from property damage to businesses as a result of the riots in 2015



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that followed the death of Freddie Gray while in police custody. See Chae Brothers, LLC, supra,

SAG-17-01657.

       The City also now focuses on the size of the 2021 event as the basis for a safety concern.

See, e.g., ECF 25-1 at 19. But, the size of the crowd was not mentioned in the Huber Declaration

or the Shea Declaration. See ECF 25-3; ECF 25-4. And, if size were actually the City’s concern,

it could have made an effort to limit the size of the event, instead of blocking it entirely.

       As mentioned, no case law has been cited by plaintiff to suggest that the City was

required to disclose to plaintiff any basis for its decision, or every ground on which its decision

was premised. But, the City did provide a reason. That reason related to provocative speakers

and St. Michael’s alleged support for the assault on the Capitol on January 6, 2021. The

appearance during the litigation of additional justifications, not reflected in the evidence

regarding the City’s concerns when it made the decision to cancel the rally, creates an inference

of post hoc rationalization. This is especially so because the City presented no evidence to rebut

that inference.

       Post hoc rationalizations by a government can be evidence of viewpoint discrimination.

As the D.C. Circuit has said, in the context of a decision to close a forum: “[I]f the Government

proffers one reason when closing the forum but another when it later defends the closing, then

that in itself is evidence of pretext.” Am. Freedom Defense Initiative, 901 F.3d at 366. The

concern regarding post-decision justifications that surface during litigation also aligns with the

importance of standards to prevent viewpoint discrimination. “Without [such] guideposts, post

hoc rationalizations by the licensing official and the use of shifting or illegitimate criteria are far

too easy, making it difficult for courts to determine in any particular case whether the licensor is




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permitting favorable, and suppressing unfavorable, expression.” City of Lakewood, 486 U.S. at

758 (emphasis in original).

        The City’s stated justification at the relevant time, coupled with its subsequent rationale,

strengthen the argument that the City’s decision was the product of viewpoint discrimination.

See Ridley, 390 F.3d at 87 (stating that “suspicion arises where the viewpoint-neutral ground is

not actually served very well by the specific governmental action at issue; where, in other words,

the fit between means and ends is loose or nonexistent”); Sons of Confederate Veterans, Inc. ex

rel. Griffin, 288 F.3d at 624 (considering the “given restriction and the surrounding

circumstances”).

        In his Declaration, Huber avers that the City was also concerned about the “secondary

effects” of the rally—referring to “property destruction, physical assaults, and other violence”

that could be “incit[ed]” by the “events and statements” of rally speakers. ECF 25-2, ¶ 4; see

ECF 25-1 at 6, 19, 20, 23, 25. Insofar as the City is attempting to invoke the “secondary effects”

doctrine, it is inapposite.

        As plaintiff notes (ECF 31 at 18), the secondary effects doctrine is often applied to local

regulation of certain kinds of businesses, such as sexually-oriented businesses. The restrictions

are frequently justified on the basis of the “secondary effects” caused by such businesses, such as

crime or reduced property values. See, e.g., City of Los Angeles v. Alameda Books, 535 U.S.

425, 430-32 (2002) (O’Connor, J., plurality opinion) (city ordinance prohibiting sexually-

oriented businesses near schools, parks, and churches); Renton, 475 U.S. at 44 (similar

ordinance); American Entertainers, L.L.C. v. City of Rocky Mount, 888 F.3d 707, 712-13 (4th

Cir. 2018) (licensing scheme for sexually-oriented businesses); Maages Auditorium v. Prince

George’s Cty., 681 F. App’x 256, 259 (4th Cir. 2017) (zoning ordinance regulating adult



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entertainment businesses); Cricket Store 17, L.L.C. v. City of Columbia, 676 F. App’x 162, 163-

64 (4th Cir. 2017) (ordinance prohibiting adult businesses near “sensitive use” locations).

         Legislation considered under the secondary effects doctrine may be classified as a

content-neutral time, place, and manner distinction because typically it does not ban regulated

businesses, but merely restricts them in some way. See Renton, 475 U.S. at 46. But here, the

City’s action has prevented St. Michael’s from using the Pavilion altogether. Applicability of the

secondary effects doctrine in this context, excluding a group because of specific speakers, is

dubious.

         Regardless, the justification offered by the City does not fall within the ambit of this

doctrine. Boos v. Barry, 485 U.S. 312, seems to be the most relevant case, although the case sub

judice does not involve an ordinance. There, the Supreme Court struck down a District of

Columbia ordinance prohibiting the display of signs outside of foreign embassies when intended

to bring a foreign government into “disrepute.” Id. at 315-16. The Court held that if the city had

cited an interest such as “congestion,” “visual clutter,” or embassy security, then the secondary

effects doctrine might apply. Id. at 320. But, the city had explicitly cited the “content of the

speech and the direct impact that speech has on its listeners,” “[l]isteners’ reactions to speech,”

and the “emotive impact of speech on its audience,” which took the ordinance outside of the

doctrine. Id. at 321.

         In sum, the unbridled discretion exercised by the City; its use of the heckler’s veto as an

explicit justification; its shifting, post hoc rationalizations; and the City’s invocation of political

rhetoric by rally organizers and speakers point to the conclusion that plaintiff is likely to succeed

on the claim that the City engaged in viewpoint discrimination with respect to plaintiff’s political

views.



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       Under the standard of strict scrutiny, the City must “‘prove that the restriction furthers a

compelling interest and is narrowly tailored to achieve that interest.’” Reed, 576 U.S. at 171

(quoting Arizona Free Enterprise Club’s Freedom Club PAC, 564 U.S. at 734).                   And, as

mentioned, with respect to narrow tailoring the City must “prove that no ‘less restrictive

alternative’ would serve its purpose.” Cent. Radio Co., 811 F.3d at 633 (citing Playboy Entm’t

Grp., Inc., 529 U.S. at 813). The City has not shown that there was no less restrictive alternative

to an outright ban on the rally at the Pavilion.

       The City raises an understandable concern about being forced to host any group that

desires to use the Pavilion, regardless of the potential for disruption. ECF 25-1 at 25. To be

clear, nothing in this opinion is meant to prevent the City from lawfully restricting or limiting

access to the Pavilion. But, such a decision must be viewpoint neutral.

       I conclude that plaintiff is likely to succeed on the merits with regard to the claim that the

City violated its rights to free speech under the First Amendment. 30


       30
          As indicated, based on the state of the record, I have concluded that the Pavilion is a
nonpublic forum or a limited public forum. Notably, the City’s “decision to restrict access to a
nonpublic forum need only be reasonable; it need not be the most reasonable or the only
reasonable limitation. In contrast to a public forum, a finding of strict incompatibility between
the nature of the speech or the identity of the speaker and the functioning of the nonpublic forum
is not mandated.” Cornelius, 473 U.S. at 808-09 (emphasis in original). “Nor is there a
requirement that the restriction be narrowly tailored or that the Government’s interest be
compelling. . . . The reasonableness of the Government’s restriction of access to a nonpublic
forum must be assessed in the light of the purpose of the forum and all the surrounding
circumstances.” Id. at 809. As discussed, the same standard applies to a limited public forum.

        The Court expresses no opinion as to the ability of the City to implement reasonable,
viewpoint-neutral limitations anchored in lawful justifications. But, St. Michael’s does not have
carte blanche to hold whatever rally it wants, in whatever size or format it wants. For example, it
is possible that reasonable, adequately justified limitations on the size, length, or time of the rally
would pass legal muster, given the location of the Pavilion in the heart of downtown Baltimore,
and the fact that the rally is scheduled to be held on a work day during business hours. See id. at
806; Perry, 460 U.S. at 47; Child Evangelism Fellowship of S.C., 470 F.3d at 1067; Goulart, 345
F.3d at 248-49.

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                               B. Other Claims Against City Defendants

           St. Michael’s brings three additional First Amendment claims against the City

Defendants. In particular, it asserts violations of the Free Exercise Clause (Count II, ECF 14, ¶¶

62-72), the Establishment Clause (Count III, id. ¶¶ 73-83), and the right to assembly (Count IV,

id. ¶¶ 84-98).

           At the hearing, plaintiff’s counsel seemed to concede that its claims based on the Free

Exercise Clause and the Establishment Clause are weak. Indeed, there is no evidence to support

these claims. Because plaintiff is not likely to succeed on these claims, I decline to discuss them

further.

           Both sides accept that the analysis for the assembly claim is essentially the same as the

analysis for the free speech claim. See ECF 15 at 12 (“The analysis as to the merits of this claim

is thus largely identical to the analysis of St. Michael’s freedom of speech claim.”); ECF 25-1 at

28 (“Again, the court’s analysis turns on the fact that the Pavilion is a nonpublic forum.”); ECF

31 at 19 (“Defendants agree that the analysis for the right of assembly claim is largely identical

to the analysis of St. Michael’s freedom of speech claim.”).

           The same forum-based standards, discussed for the free speech claim, apply to assembly

claims. See, e.g., Lavite v. Dunstan, 932 F.3d 1020, 1028-31 (7th Cir. 2019) (“Any regulation of

speech or assembly on government property must be able to withstand some degree of

constitutional scrutiny,” and analyzing an assembly claim using the public forum framework);

       In an attempt to thwart restrictions based on the size and time of the 2021 event, plaintiff
noted in argument that during the baseball season the Orioles sometimes host daytime, midweek
games at the baseball stadium, attended by thousands of people, with a significant police
presence. The point is not frivolous. That stadium, known as “Oriole Park at Camden Yards,” is,
indeed, in downtown Baltimore. However, the stadium is owned by the Maryland Stadium
Authority, not the City. And, the stadium is not situated in the heart of the business district. In
addition, it is not on the water.


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Green v. City of Raleigh, 523 F.3d 293, 297, 300-07 (4th Cir. 2008) (analyzing plaintiff’s free

speech and peaceable assembly challenges to a picketing ordinance together).

       Therefore, I find that St. Michael’s has established a substantial likelihood that it will

succeed on the merits of its assembly claim.

                                  C. Specific Performance Claim

       Plaintiff’s fifth claim is lodged against SMG. And, it is not based on the Constitution.

Rather, plaintiff asserts that St. Michael’s entered into a valid contract with SMG for its use of

the Pavilion, and that SMG has refused to fulfill its contractual obligations. Therefore, it asks

the Court to order specific performance of SMG’s asserted contractual obligations. Defendants

respond that no contract was ever formed between St. Michael’s and SMG. ECF 21 at 29-30.

       “[I]nterpretation of private contracts is ordinarily a question of state law.” Volt Info.

Scis., Inc. v. Bd. of Trustees of Leland Stanford Junior Univ., 489 U.S. 468, 474 (1989); accord

James v. Circuit City Stores, Inc., 370 F.3d 417, 421-22 (4th Cir. 2004). Here, the Court’s

jurisdiction over plaintiff’s breach of contract claim is premised on its supplemental jurisdiction,

see 28 U.S.C. § 1367.      And, “[w]hen choosing the applicable state substantive law while

exercising diversity or supplemental jurisdiction, a federal district court applies the choice of law

rules of the forum state.” Ground Zero Museum Workshop v. Wilson, 813 F. Supp. 2d 678, 696

(D. Md. 2011). The forum state is, of course, Maryland.

       As to contract claims, Maryland applies the law of the state in which the contract was

formed (“lex loci contractus”), unless the parties to the contract agreed to be bound by the law of

another state. See, e.g., Am. Motorists Ins. Co. v. ARTRA Group, Inc., 338 Md. 560, 573, 659

A.2d 1295, 1301 (1995); TIG Ins. Co. v. Monongahela Power Co., 209 Md. App. 146, 161, 58

A.3d 497, 507 (2012), aff’d, 437 Md. 372, 86 A.3d 1245 (2014).



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       SMG sent a proposed Use License Agreement to St. Michael’s on July 14, 2021, and then

on September 16, 2021. Both contain choice of law clauses providing that Maryland law

controls. See ECF 16-1, § 19(a) (“This Agreement shall be deemed to be made, governed by,

and construed in accordance with the laws of Maryland without giving effect to the conflict of

law principles thereof.”); ECF 31-2, § 19(a) (same).

       The parties dispute whether a contract was formed. But, when a contract contains a

choice of law provision, Maryland courts apply § 187(2) of the Restatement (Second) of Conflict

of Laws (Am. L. Inst. 1971) (“Restatement of Conflicts”), which states: “The law of the state

chosen by the parties to govern their contractual rights will be applied.” See Ace American Ins.

Co. v. Grand Banks Yachts, Ltd., 587 F. Supp. 2d 697, 704 (D. Md. 2008) (applying Restatement

of Conflicts § 187(2)). “In Maryland, choice of law provisions in contracts are enforceable unless

the choice of law jurisdiction has no substantial relationship to the transaction, or there is a

fundamental policy difference in the laws of another jurisdiction with a more substantial interest

in the parties or the transaction.” United States for use & benefit of Tusco, Inc. v. Clark Constr.

Grp., 235 F. Supp. 3d 745, 752 n.9 (D. Md. 2016) (citing Jackson v. Pasadena Receivables, Inc.,

398 Md. 611, 921 A.2d 799, 803-05 (2011)); see Restatement of Conflicts § 187.

       Although the parties dispute whether a contract was formed, both St. Michael’s and

defendants appear to agree that Maryland law should apply here, albeit without discussion. See

ECF 15 at 13-14 (citing Maryland law); ECF 21 at 29-30 (same); ECF 31 at 19-21 (same).

Therefore, I shall apply Maryland law.

       In general, under Maryland law, a contract is defined as “a promise or set of promises for

breach of which the law gives a remedy, or the performance of which the law in some way

recognizes as a duty.” RICHARD A. LORD, 1 WILLISTON         ON   CONTRACTS § 1:1 (4th ed. 1990);



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accord RESTATEMENT (SECOND) CONTRACTS § 1 (1981); see also Maslow v. Vanguri, 168 Md.

App. 298, 321, 896 A.2d 408, 421-22, cert. denied, 393 Md. 478, 903 A.2d 416 (2006). “‘A

contract is formed when an unrevoked offer made by one person is accepted by another.’” Cty.

Comm’rs for Carroll Cty. v. Forty W. Builders, Inc., 178 Md. App. 328, 377, 941 A.2d 1181,

1209 (2008) (quoting Prince George’s Cty. v. Silverman, 58 Md. App. 41, 57, 472 A.2d 104, 112

(1984)). Thus, mutual assent is an integral component of every contract. See, e.g., Joseph

Saveri Law Firm Inc. v. Michael E. Criden, P.A., 759 F. App’x 170, 173 (4th Cir.

2019) (recognizing as a “bedrock principle of law” that an offeree must accept an offer to form a

contract); Cochran v. Norkunas, 398 Md. 1, 14, 919 A.2d 700, 708 (2007); Advance Telecom

Process LLC v. DSFederal, Inc., 224 Md. App. 164, 177, 119 A.3d 175, 183 (2015).

       A contract may be oral or written, as well as express or implied. “‘An express contract

has been defined as an actual agreement of the parties, the terms of which are openly uttered or

declared at the time of making it, being stated in distinct and explicit language, either orally or in

writing.’” Maryland Cas. Co. v. Blackstone Int'l Ltd., 442 Md. 685, 706, 114 A.3d 676, 688

(2015) (quoting Cnty. Comm'rs of Caroline Cnty v. Roland Dashiell & Sons, Inc., 358 Md. 83,

94, 747 A.2d 600, 606 (2000)). Whether oral or written, a contract must express with certainty

the nature and extent of the parties’ obligations and the essential terms of the agreement. Forty

W. Builders, Inc., 178 Md. App. at 377-78, 941 A.2d at 1209-10; see Canaras v. Lift Truck

Services, 272 Md. 337, 346, 322 A.2d 866, 871 (1974). If an agreement omits an important

term, or is otherwise too vague or indefinite with respect to an essential term, it is not

enforceable. Mogavero v. Silverstein, 142 Md. App. 259, 272, 790 A.2d 43, 51 (2002); see L &

L Corp. v. Ammendale, 248 Md. 380, 385, 236 A.2d 734, 737 (1967); Schloss v. Davis, 213 Md.




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119, 123, 131 A.2d 287, 290 (1956) (stating that a “contract may be so vague and uncertain as to

price or amount as to be unenforceable”).

       In determining whether there is an enforceable contract, courts begin the analysis “by

discussing the essential prerequisite of mutual assent to the formation of a contract . . . .” Falls

Garden Condo. Ass’n, Inc. v. Falls Homeowners Ass’n, Inc., 441 Md. 290, 302, 107 A.3d 1183,

1189 (2015); see also Mitchell v. AARP, 140 Md. App. 102, 116, 779 A.2d 1061, 1069 (2001)

(“An essential element with respect to the formation of a contract is ‘a manifestation of

agreement or mutual assent by the parties to the terms thereof; in other words, to establish a

contract the minds of the parties must be in agreement as to its terms.’” (citations omitted)).

“Manifestation of mutual assent includes two issues: (1) intent to be bound, and (2) definiteness

of terms.” Cochran, 398 Md. at 14, 919 A.2d at 708. Generally, “[s]ilence is ... not to be

considered an acceptance of an offer.” Id. at 23-24, 919 A.2d at 714. But, “acceptance may be

manifested by actions as well as words.” Galloway, 819 F.3d at 87 (citing Porter v. General

Boiler Casing Co., 284 Md. 402, 396 A.2d 1090, 1095 (1979) (“The purpose of a signature is to

demonstrate ‘mutuality or assent’ which could as well be shown by the conduct of the parties.”));

see also Restatement (Second) of Contracts § 53(1) (“An offer can be accepted by the rendering

of a performance only if the offer invites such acceptance.”).

       Of relevance here, “parties may ‘enter into a binding informal or oral agreement to

execute a written contract; and, if the parties contemplate that an agreement between them shall

be reduced to writing before it shall become binding and complete, there is no contract until the

writing is signed.’” Cochran, 398 Md. at 18, 919 A.2d at 711 (quoting Eastover Stores, Inc. v.

Minnix, 219 Md. 658, 665, 150 A.2d 884, 888 (1959)). In other words, “[i]f the parties do not




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intend to be bound until a final agreement is executed, there is no contract.” Cochran, 398 Md.

at 14, 919 A.2d at 708.

       The Maryland Court of Appeals has enumerated “several factors that may be helpful in

determining whether the parties have manifested an intention to be bound.” Id. at 15, 919 A.2d

at 708. These include the language of the preliminary agreement; the existence of open terms;

whether partial performance has occurred; the context of the negotiations; the custom of such

transactions, such as whether a standard form contract is widely used in similar transactions;

whether the agreement has few or many details; whether the amount involved is large or small;

and whether it is a common or unusual contract. Id. at 15-16, 919 A.2d at 708-09.

       Parties who contemplate that their agreement would be reduced to a final writing before it

would become binding are at liberty to withdraw from negotiations before the final writing is

signed. Cochran, 398 Md. at 19, 919 A.2d at 711; Eastover Shores, Inc., 219 Md. at 665, 150

A.2d at 888. Likewise, “parties can make the completion of their contract depend upon the

execution of a written instrument. The question whether the parties negotiating a contract

intended to be bound by their oral agreement but contemplated a written instrument merely as

evidence of their agreement, or whether they did not intend to bind themselves until a contract

was prepared and signed by them, must be decided from the facts and circumstances in each

particular case.” Peoples Drug Stores v. Fenton Realty Corp., 191 Md. 489, 493, 62 A.2d 273,

275 (1948).

       Applying these principles to the facts here, the evidence does not show a contract was

formed between St. Michael’s and SMG. It is clear that the parties contemplated the execution

of a written document. And, the document was not executed as of the time that the City

withdrew its approval for the event.



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       As discussed, the record reflects that on June 16, 2021, Carmen Allard, as a

representative of St. Michael’s, reached out to SMG to inquire about renting the Pavilion. ECF

16-2 at 38. Teresa Waters, a representative of SMG, responded to confirm that the date of

November 16, 2021, was available, and that a “$3000 non-refundable deposit” was required to

“hold the date.” Id. She attached the “prior contract” for plaintiff’s review and said: “Please

advise if you would like to proceed with a deposit and contract confirming the event.” Id.

Allard responded: “Yes, we would like to proceed. Kindly provide directions for payment of the

deposit and new contract.” Id. at 37. Waters then requested certain information for the contract,

which Allard promptly provided. Id. at 35-36. About a month later, on July 14, 2021, Waters

emailed Allard with “the contract for the 11.16.2021 Baltimore Conference and Prayer event.”

Id. at 30. She said: “Please sign and return to me for execution. If you have any requested edits

please do so in a redline format.” Id. Notably, the attached “Use License Agreement” had

spaces for signature, but was not signed by any party. See ECF 16-1 at 14.

       Moreover, when Waters asked Allard to “sign and return” the contract to her “for

execution,” this indicates that SMG did “not intend to be bound until a final agreement [was]

executed.” Cochran, 398 Md. at 14, 919 A.2d at 708. Waters also told Allard that if she had

“any requested edits” she should make those to the contract “in a redline format,” which

reinforces this point. Plainly, SMG realized that there might be changes to the terms; redlining

would enable SMG to easily locate and review them in order to determine if they were

acceptable.

       To be sure, well before August 5, 2021, St. Michael’s had paid the requested deposit of

$3,000 to SMG in order to hold the date of November 16, 2021. But, this deposit was paid in

good faith, merely for the purpose of securing the date while negotiations continued. ECF 16-2



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at 38 (“We do require a $3000 non-refundable deposit to hold the date.” (emphasis added)).

Indeed, payment was made on June 21, 2021, weeks before Waters even sent the draft contract

on July 14. Id. at 32; ECF 41-7, ¶ 8. In the overall context of the discussions, payment of a

deposit does not constitute the “intent to be bound” nor the “definiteness of terms” required for

creation of a contract. Cochran, 398 Md. at 14, 919 A.2d at 708

       This conclusion is supported by the parties’ conduct after Waters sent the document to

Allard. It does not appear Allard, or anyone else at St. Michael’s, ever signed or returned the

contract, as requested by Waters. Indeed, plaintiff acknowledges the “lack of final signatures”

on the document. ECF 14, ¶ 18. Instead, Allard replied the next day that she was still reviewing

the document and offered a “slight correction” as to the correct name of St. Michael’s. ECF 16-2

at 29. Shortly thereafter, Allard emailed again with a request to change the “doors” time, as well

as a question about a provision of the document that was apparently in error. Id. at 27-28.

Allard and Waters were exchanging emails through August 2, 2021, concerning various details

of the event, including potential changes to the event time and associated costs; the technology

available at the Pavilion; whether the rally would be classified as “private” or “ticketed”; and the

import of plaintiff selling tickets to the event. Id. at 10-12, 17-18, 24-27.

       On August 2, 2021, Waters emailed Allard, providing “answers to the remaining

questions to try and finish the contract.” Id. at 17. However, the conversation did not result in

an updated contract sent to St. Michael’s prior to August 5, 2021.

       These conversations indicate that the terms of the contract were still very much in flux.

St. Michael’s argues the parties “had already agreed on all material terms . . . and were

discussing only minor alterations to the language in a written contract.” ECF 15 at 13. Allard

herself avers she did not “immediately sign” the contract sent on July 14, 2021, “because [the



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parties] were still discussing a few small details.” ECF 41-17, ¶ 7. But, not all of the concerns

seem so minor. Changing the times of the rally, for example, led to an increase in costs for St.

Michael’s, including an additional $8,000 in rent plus production expenses—a significant

percentage of an ultimate cost of $23,000 plus other expenses (see ECF 31-2, Ex. B). ECF 16-2

at 17-18. And, whether the event would be private or ticketed was clearly an important and

evolving issue. Id. at 24.

       Furthermore, SMG clearly did not intend to be bound until the contract was executed,

which never occurred. In fact, prior to August 5, 2021, the final contract was never even sent by

SMG to St. Michael’s. This is reflected in Waters’s email of August 2, providing answers “to try

and finish the contract.” Id. at 17-18.

       This conclusion is not altered by anything that occurred following the filing of the lawsuit

on September 13, 2021, or the Court’s entry of a TRO the next day. On September 16, 2021,

Waters emailed Allard an unsigned “revised contract” with certain changes that had been

discussed prior to August 5. ECF 19-2 at 5 (email exchange); ECF 31-2 (revised Use License

Agreement). She asked Allard to “[p]lease review, sign and return . . . the contract for final

signature.” ECF 19-2 at 5. She also requested that any changes be made in a redline format for

review by SMG. Id. The same day, Allard responded, indicating that “[a]ll changes appear to be

correct.” Id. at 3. She attached the document signed by her and wrote: “We look forward to

receiving the countersigned copy at your soonest convenience.” Id. at 4. However, the next day,

Waters responded: “I have been advised that we cannot fully execute your contract until the

lawsuit is officially settled later this month.” Id. at 2; ECF 41-7, ¶ 18.

       These communications suggest that SMG still lacked the requisite “intent to be bound” in

the absence of an executed contract. Cochran, 398 Md. at 14, 919 A.2d at 708. As noted, “[i]f



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the parties do not intend to be bound until a final agreement is executed, there is no contract.”

Cochran, 398 Md. at 14, 919 A.2d at 708. Instead, Waters emailed an unsigned contract and

asked Allard to review and sign it before returning it “for final signature,” which indicates that

SMG did not intend to be bound until execution. This is reinforced by Waters’s language that

they could not “fully execute” the contract even after it had been signed by Allard. The “context

of the negotiations” is also helpful in determining whether SMG manifested an intention to be

bound. Id. at 15-16, 919 A.2d at 708-09.

         Because no contract was entered into between SMG and St. Michael’s, SMG cannot be in

breach of the contract, and there is no basis to order specific performance. Accordingly, St.

Michael’s has failed to establish a likelihood of success on the merits of its specific performance

claim.

         I recognize that SMG and plaintiff were headed towards finalizing the terms of a

contract, and the City intervened to cancel the event before the contract was finalized. However,

this does not alter the conclusion that, as of the cancellation on August 5, 2021, SMG and

plaintiff were not bound by a contract; a written contract was clearly contemplated but not yet

finalized and certainly not fully executed. The same analysis applies as to the contact circulated

on September 16, 2021. Thus, the Court declines to issue an injunction compelling SMG to

fulfill its contractual obligations with St. Michael’s.

         Clearly, an executed contract between SMG and plaintiff is necessary for plaintiff to

utilize the Pavilion for its rally. Although there is no contract to enforce, the parties were

obviously engaged in earnest negotiations until the City called the matter to a halt. Cf. Cochran,

398 Md. at 12 n.5, 919 A.2d at 707 n.5 (noting that, in certain circumstances, a “binding

preliminary agreement” may exist when “the parties accept a mutual commitment to negotiate



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together in good faith regarding any remaining open terms”); see also Teachers Ins. and Annuity

Ass’n of America v. Tribune Co., 670 F. Supp. 491, 498-99 (S.D.N.Y. 1987). The City may not

impede the contract negotiation process based on a particular viewpoint.

                                    D. Other Injunction Factors

       I have found that St. Michael’s has succeeded in establishing a substantial likelihood of

success on its claims as to free speech (Count I) and assembly (Count IV). A preliminary

injunction cannot issue absent a “clear showing” that all four requirements for such an injunction

are satisfied. Leaders, 979 F.3d at 226; Pashby, 709 F.3d at 320. Accordingly, it is necessary

for the court to consider the remaining three factors: “whether the movant has shown ‘that he is

likely to suffer irreparable harm in the absence of preliminary relief, that the balance of equities

tips in his favor, and that an injunction is in the public interest.’” Benisek, 138 S. Ct. at 1943-44

(quoting Winter, 555 U.S. at 20, 129 S. Ct. 365); see Leaders of a Beautiful Struggle, 2 F.4th at

339; Centro Tepeyac, 722 F.3d at 188.

       As noted, the irreparable harm factor is satisfied if there is a likely constitutional

violation. Leaders of a Beautiful Struggle, 2 F.4th at 346. In particular, “in the context of an

alleged violation of First Amendment rights, a plaintiff’s claimed irreparable harm is

‘inseparably linked’ to the likelihood of success on the merits of plaintiff’s First Amendment

claim.” W.V. Ass’n of Club Owners and Fraternal Services, Inc., 553 F.3d at 298 (citation

omitted). As the Fourth Circuit said in Legend Night Club, 637 F.3d at 301, albeit in the context

of permanent injunctive relief, “‘[t]he loss of First Amendment freedoms, for even minimal

periods of time, unquestionably constitutes irreparable injury.’” Id. at 302 (quoting Elrod, 427

U.S. at 373).




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       Ordinarily, such a threatened injury to a plaintiff will “easily outweigh[ ] whatever

burden the injunction may impose,” because the government “is in no way harmed by issuance

of an injunction that prevents the state from enforcing unconstitutional restrictions.” Legend

Night Club, 637 F.3d at 302-03. When a state is precluded from enforcing restrictions that are

likely to be deemed unconstitutional, then “the balance of the equities favors preliminary relief . .

. .” Leaders of a Beautiful Struggle, 2 F.4th at 346 (citing Centro Tepeyac, 722 F.3d at 191;

Giovani Carandola, Ltd., 303 F.3d at 521). Furthermore, “it is well-established that the public

interest favors protecting constitutional rights.” Leaders of a Beautiful Struggle, 2 F.4th at 346

(citing Centro Tepeyac, 722 F.3d at 191).

       Defendants argue that plaintiffs’ delay between August 5, 2021, when they learned of the

City’s decision, and September 13, 2021, when they filed this lawsuit, militates against a finding

of irreparable harm. ECF 25-1 at 31-32. “[A] party requesting a preliminary injunction must

generally show reasonable diligence.” Benisek, 138 S. Ct. at 1944. Voris testified convincingly

that St. Michael’s began seeking legal advice immediately after learning of the defendants’

decision, and that the delay in filing suit was primarily due to difficulties in obtaining willing and

adequate legal representation. Given the circumstances, and the clear preference for finding

irreparable harm for a First Amendment injury, plaintiff’s delay does not alter the analysis.

       “‘The loss of First Amendment freedoms, for even minimal periods of time,

unquestionably constitutes irreparable injury,’” Legend Night Club, 637 F.3d at 302 (quoting

Elrod, 427 U.S. at 373). Therefore, St. Michael’s is likely to suffer irreparable harm in the

absence of preliminary relief.

       Further, I find that the balance of equities favors awarding preliminary relief to St.

Michael’s when, as here, the City is barred from enforcing a restriction likely to be deemed



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unconstitutional. See Leaders of a Beautiful Struggle, 2 F.4th at 346. Moreover, “the public

interest favors protecting constitutional rights.” Id. And, because plaintiff has established a

likelihood of success in regard to the claim of violation of its First Amendment rights, an

injunction is in the public interest.

                                             E. Security

        Rule 65(c) of the Federal Rules of Civil Procedure provides that a court “may issue a

preliminary injunction . . . only if the movant gives security in an amount that the court considers

proper to pay the costs and damages sustained by any party found to have been wrongfully

enjoined or restrained.” The Fourth Circuit has explained that this rule “is mandatory and

unambiguous.” Hoechst Diafoil Co. v. Nan Ya Plastics Corp., 174 F.3d 411, 421 (4th Cir. 1999).

Ordinarily, “failure to require a bond upon issuing injunctive relief is reversible error.” Id.

Although a court “is not free to disregard the bond requirement altogether,” a court “has

discretion to set the bond amount ‘in such sum as the court deems proper.’” Id. (quoting rule).

        “The purpose of [Fed. R. Civ. P. 65(c)] is to enable a restrained or enjoined party to

secure indemnification for any costs . . . and any damages that are sustained during the period in

which a wrongfully issued equitable order remains in effect.” 11A WRIGHT, MILLER & KANE,

FEDERAL PRACTICE & PROCEDURE § 2954 (Apr. 2021). Accordingly, “[t]he amount of the

bond . . . ordinarily depends on the gravity of the potential harm to the enjoined party.” Hoechst,

174 F.3d at 421.

        “Security [under Fed. R. Civ. P. 65(c)] is generally fixed in an amount covering ‘the

potential incidental and consequential costs’ as well as either the losses the wrongly enjoined

party will suffer or the amount of the complainant’s unjust enrichment during the period of

prohibited conduct.” Metro. Reg’l Information Sys., Inc. v. Am. Home Realty Network, Inc., 904



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F. Supp. 2d 530 (D. Md. 2012) (quoting Hoechst, 174 F.3d at 421).               “Given the court’s

discretionary power under Rule 65(c), the imprecise measure of some of the elements of damage,

and the varying ability of defendants to establish their contemplated injuries, courts have

responded to the obligation to set security by requiring a variety of dollar amounts to be posted

by a successful applicant as a prerequisite to the issuance of injunctive relief.”    11A WRIGHT,

MILLER & KANE, FEDERAL PRACTICE & PROCEDURE § 2954.

       As the Seventh Circuit has explained, “[w]hen setting the amount of security, district

courts should err on the high side. If the district judge had set the bond at $50 million, as [the

defendant in this case] requested, this would not have entitled [the defendant] to that sum; [The

defendant] still would have had to prove its loss, converting the ‘soft’ numbers to hard ones. An

error in setting the bond too high thus is not serious. . . . Unfortunately, an error in the other

direction produces irreparable injury, because the damages for an erroneous preliminary

injunction cannot exceed the amount of the bond.” Mead Johnson & Co. v. Abbott Laboratories,

201 F.3d 883, 888 (7th Cir. 2000).

       Defendants seek a bond of $1 million. They cite the Baltimore Police Department’s

officer shortage and ongoing federal litigation against the City by business owners in the

aftermath of the death of Freddie Gray. ECF 25-1 at 31-33.

       Plaintiff argues for either no bond or a minimal bond, asserting the defendants will suffer

no damages under the injunction from plaintiff’s “peaceful rally.” ECF 15 at 16. At argument,

counsel for plaintiff also pointed to the contractual obligation of plaintiff to provide security for




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the rally, and the $2 million insurance policy it was required to obtain under the contract, to

indemnify the City in the event of injury or property damage. 31

         As noted, the court “has discretion to set the bond amount ‘in such sum as the court

deems proper.’” Hoechst, 174 F.3d at 421 (quoting rule). Applying the principles above, I find

that there is a case for a meaningful bond. Defendants have articulated real, serious harms that

could result if, as a result of a wrongfully issued injunction, disruption and violence ensue at the

rally. In view of the lack of any precise supporting calculation, and in reliance on the $2 million

insurance policy apparently obtained by plaintiff for the event (see ECF 31-3), I will set a bond

of $250,000.    That sum is conditioned on the City’s satisfaction that the insurance policy

supposedly procured by plaintiff is actually in place.

                                         VI. Conclusion

       In light of the foregoing, I will grant the Motion in part and deny the Motion in part. I

shall issue the injunction specified in the accompanying “Order and Preliminary Injunction.”




Date: October 12, 2021                                   _______/s/______________
                                                         Ellen L. Hollander
                                                         United States District Judge




       31
          The Court is mindful that merely having an insurance policy is not a guaranty that the
insurer will pay a claim.

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